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               In the United States Court of Federal Claims
                                                  No. 18-266T
                                            Filed: October 19, 2020 1

   SILVER STATE SOLAR
   POWER SOUTH, LLC,
                                          Plaintiff,
   v.


   THE UNITED STATES,
                                          Defendant.


                                                       ORDER
TAPP, Judge.
        On June 5, 2020, the United States filed a Motion in Limine (Def.’s Mot. in. Lim., ECF
No. 51) seeking to exclude various portions in 13 of the 16 declarations used as appendices to
Silver State’s opposition to the United States’ Motion for Summary Judgment (Pl.’s Resp.
Summ. J., ECF No. 46). For the reasons stated below, United States’ Motion is GRANTED-IN-
PART and DENIED-IN-PART.
        The United States objects to Silver State’s reliance on fact witness testimony presented in
declarations submitted with its opposition to the United States’ motion for partial summary
judgment. See RCFC 56(c)(2) (providing that, in response to summary judgment briefing, “[a]
party may object that material cited to support . . . a fact cannot be presented in a form that
would be admissible in evidence”). The purpose of a motion in limine is to “to prevent a party
before trial from encumbering the record with irrelevant, immaterial or cumulative matters. Such
a motion enables a court to rule in advance on the admissibility of documentary or testimonial
evidence and thus expedite and render efficient a subsequent trial.” INSLAW, Inc. v. United
States, 35 Fed. Cl. 295, 302–03 (1996); see also Dairyland Power Coop. v. United States, 123
Fed. Cl. 220, 222 (2015).
       The United States asserts that Silver State’s declarations contain statements which
purport to offer expert opinion by a lay witness, as well as statements that purport to explain,
analyze, or decide legal concepts. The Court will address those arguments in turn.




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  This Order was originally filed under seal on September 18, 2020, (ECF No. 54). The Court provided parties the
opportunity to review this opinion for any proprietary, confidential, or other protected information and submit
proposed redactions no later than October 19, 2020. The Joint Status Report of October 19, 2020 (ECF No. 56),
indicates that the parties propose no redactions. Thus, the sealed and public versions of this Order are identical,
except for the publication date and this footnote.
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   I.      Acceptable testimony under Federal Rule of Evidence 701
       The United States repeatedly objects to statements of lay witnesses based on perceptions
gathered in the course of their business. The jurisprudence concerning lay witness testimony
offered by employees within a particular industry warrants a more comprehensive discussion.
         Generally, Federal Rules of Evidence (Fed. R. Evid.) 701 and 702 govern the
admissibility of opinion testimony offered by lay witnesses and expert witnesses respectively.
While the line between lay witness opinion testimony and expert witness testimony is not always
clear, drawing such a distinction is vital in ensuring disclosure requirements are properly applied.
The United States’ arguments relate specifically to witnesses who are offering expert opinion as
lay witnesses. Rule 701 provides:
          If a witness is not testifying as an expert, testimony in the form of an opinion
          is limited to one that is:
               (a) rationally based on a witness’s perception;
               (b) helpful to clearly understanding the witness’s testimony or to
               determining a fact in issue;
               (c) not based on scientific, technical, or other specialized knowledge
               within the scope of Rule 702.
Fed. R. Evid. 701. If a witness’s testimony fails to meet any one of the three foundational
requirements, it is inadmissible. See id. In contrast, Rule 702, which governs the requirements of
expert testimony, states:
          A witness who is qualified as an expert by knowledge, skill, experience,
          training, or education may testify in the form of an opinion or otherwise if:
               (a) the expert's scientific, technical, or other specialized knowledge will
               help the trier of fact to understand the evidence or to determine a fact in
               issue;
               (b) the testimony is based on sufficient facts or data;
               (c) the testimony is the product of reliable principles and methods; and
               (d) the expert has reliably applied the principles and methods to the facts
               of the case.
Fed. R. Evid. 702. In United States v. Henderson, the 11th Circuit held that the “essential
difference” between expert and lay opinion witnesses is the expert's ability to answer
hypothetical questions. 409 F.3d 1293, 1300 (11th Cir. 2005) (internal alteration, quotation
marks, and citation omitted).
       “The burden is on the proponent to provide adequate foundation for the testimony.”
United States v. Freeman, 730 F.3d 590, 595–96 (6th Cir. 2013) (citing United States v. Grinage,
390 F.3d 746, 749 (2d Cir. 2004)). Thus, many declarations are constrained by the requirements
of Rule 701—that a lay witness is only permitted to give their opinion or interpretation of an
event when they have some personal knowledge of that incident. The objective of such testimony

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is to put “the trier of fact in possession of an accurate reproduction of the event.” Id. at 595
(quoting Advisory Committee Notes to Fed. R. Evid. 701). Said differently, lay opinion
testimony is permitted under Rule 701 because it has the effect of describing something that the
fact finder could not otherwise experience for themselves by drawing upon the witness’s sensory
and experiential observations that were made as a first-hand witness to a particular event. Id. at
597 (quoting United States v. Jayyousi, 657 F.3d 1085, 1120 (11th Cir. 2011) (Barkett, J.,
concurring in part and dissenting in part)). This recognizes the reality that “eyewitnesses
sometimes find it difficult to describe the appearance or relationship of persons, the atmosphere
of a place, or the value of an object by reference only to objective facts.” United States v. Garcia,
413 F.3d 201, 211 (2d Cir. 2005). Accordingly, Rule 701 permits witnesses “to testify to their
personal perceptions in the form of inferences or conclusory opinions.” Id. (citing Advisory
Committee Notes on 1972 Proposed Rules and on 2000 Amendments and 4 Weinstein's Federal
Evidence § 701.03[4][b]).
        The 2000 Advisory Committee Notes to Rule 701 state: “[T]he distinction between lay
and expert witness testimony is that lay testimony ‘results from a process of reasoning familiar in
everyday life,’ while expert testimony ‘results from a process of reasoning which can be
mastered only by specialists in the field.’” (internal citation omitted). Sometimes, lay witness
testimony about specialized matters may display the hallmarks of testimony normally offered by
experts. This issue has been addressed in other cases before this Court. For instance, DataMill,
Inc. v. United States, 91 Fed. Cl. 722 (2010), involved testimony by lay witnesses gained through
their day-to-day experiences in the field. There, the Court concluded:
          The general application of Rule 701 indicates that a lay witness may testify
          about facts within his or her range of generalized knowledge, experience, and
          perception.” The opinion “must have a rational connection to those facts.”
          Where the testimony is based upon personal knowledge of the facts
          underlying the opinion and the opinion is rationally related to the facts, a lay
          witness may, “under certain circumstances[,] express an opinion even on
          matters appropriate for expert testimony.
91 Fed. Cl. at 736 (internal citations omitted).
        The statements at issue here elicit the declarants’ personal observations based upon their
experience within the solar power development industry. This type of lay testimony is
permissible under Rule 701. The fact that a witness has specialized knowledge does not
necessarily preclude the witness from testifying under Rule 701, but the testimony must not be
“rooted exclusively in [the witness’s] expertise . . .” Bank of China, N.Y. Branch v. NBM LLC,
359 F.3d 171, 181 (2d Cir. 2004) (excluding testimony of an employee assigned to investigate
defendant when the testimony reflected the employee's specialized knowledge in international
banking rather than knowledge gained in the course of his investigatory work); Teen–Ed, Inc. v.
Kimball Int’l, 620 F.2d 399, 402–03 (3d Cir. 1980) (explaining “[t]he fact that [the witness]
might have been able to qualify as an expert witness on the use of accepted accounting principles
in the calculation of business losses should not have prevented his testifying on the basis of his
knowledge of appellant’s records about how lost profits could be calculated from the data
contained therein”). The Federal Circuit, in Union Pacific Resources Co. v. Chesapeake Energy
Corp., recognized that lay opinion testimony based upon extensive experience in an industry is
admissible under Rule 701 and permitted eight witnesses with experience in the drilling industry

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to testify based on their own personal experiences as employees of major oil drilling companies.
236 F.3d 684, 693 (Fed. Cir. 2001); see also Farner v. Paccar, Inc., 562 F.2d 518, 529 (8th Cir.
1977).
        More recently, in RP1 Fuel Cell, LLC v. United States, 120 Fed. Cl. 288 (2015), the
Court ruled that the testimony of lay witnesses for companies seeking investment tax credit
grants for equipment associated with fuel cell power plants was admissible, since witnesses did
not testify outside of the range of their personal knowledge and work experience as employees
and owner of companies. RP1 Fuel Cell discusses the multitude of other cases within the Court
of Federal Claims that analyzed the same issue, including DataMill:
          In Global Computer Enterprises, Inc. v. United States, a decision by the
          United States Court of Federal Claims, the court discussed whether or not lay
          witness opinion testimony “‘from individuals with decades of experience’”
          working in information technology would be acceptable. See Global
          Computer Enter., Inc. v. United States, 88 Fed. Cl. at 65. The judge concluded
          that, “[a]s the Federal Circuit recognized in Union Pacific Resources Co., lay
          opinion testimony based upon extensive experience in an industry is
          admissible under Rule 701.” Id. at 67 (citing Union Pac. Res. Co. v.
          Chesapeake Energy Corp., 236 F.3d at 693). The Global Computer
          Enterprises court allowed lay opinion testimony from the experienced
          professionals, noting that “[a]ll of the proffered opinions . . . are based upon
          circumstances they have observed or encountered within the industry and
          reflect a general knowledge of their work.” Id. In BPLW Architects &
          Engineers v. United States, another judge of this court reiterated that a lay
          witness can testify on his or her “perception,” as long as it is connected to
          their personal knowledge. See BPLW Architects & Eng’rs, Inc. v. United
          States, 106 Fed. Cl. 521, 545 (2012) (citing DataMill, Inc. v. United States,
          91 Fed. Cl. at 734; and 1 McCormick on Evidence § 10 (6th ed. 2006) (“[A]
          witness may testify to an event or occurrence that he has seen himself, but
          not one that he knows only from the description of others.”)).
120 Fed. Cl. at 319.
        Here, both parties cite RP1 Fuel Cell but disagree as to its implication. The United States
argues that lay witnesses (versus expert witnesses) are not permitted to rely on specialized
knowledge or offer testimony that touch on “specialized topics” such as “valuation, identification
of intangible assets, power purchase agreements, EPC agreements, accounting methods, and
renewable energy transactions.” (Def.’s Mot. in. Lim. at 4). In addition, the United States
distinguishes RP1 Fuel Cell from this case, noting that RPI Fuel Cell involved a post-trial
challenge to lay witness testimony, where the lay witnesses’ testimony already had been
admitted into the record at trial and opposing counsel had the opportunity to object to the live
testimony. (Def.’s Rep. at 11, citing RP1 Fuel Cell at 290–91). The Court finds that this
distinction immaterial. As Silver State correctly observes, RP1 Fuel Cell indicates that the
industry-based testimony of Plaintiff’s fact witnesses is permissible under Rule 701.
        In coming to the same conclusion as RP1 Fuel Cell, the Court follows the numerous other
jurisdictions that have reached the same conclusion. See, e.g., Merritt Hawkins & Assocs., L.L.C.
v. Gresham, 861 F.3d 143 (5th Cir. 2017) (holding lower court did not abuse its discretion by
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allowing company president to testify as lay witness regarding training expenses since training
expenses for employees was routine matter within witness's personal knowledge as company
president); Accurso v. Infra-Red Servs., Inc., 169 F. Supp. 3d 612 (E.D. Pa. 2016) (holding lay
opinion of employer’s officer regarding former employee’s damages was admissible; testimony
was based on officer’s perception, would be susceptible to cross-examination, and officer had 35
years of experience in industry); Craig Outdoor Advert., Inc. v. Viacom Outdoor, Inc., 528 F.3d
1001 (8th Cir. 2008) (holding testimony of railroad employee regarding his understanding of
relationship between railroad and its site leasing agent was relevant, and thus admissible since
employee had personal knowledge of railroad billboard industry, his testimony was helpful to
understanding of facts and issues in case, and testimony did not involve specialized scientific or
technical knowledge); United States v. Munoz-Franco, 487 F.3d 25 (1st Cir. 2007) (holding bank
officers did not testify beyond scope of personal knowledge by expressing lay opinion based on
knowledge of business operations and practices acquired during employment).

   II.     Legal Conclusions and Opinions, Hearsay, and Foundation

        Under Rule 704, witnesses are expressly permitted to offer their opinions on ultimate
issues. However, no witness, whether a fact or expert witness, is permitted to offer his or her
own legal interpretation because it usurps the province of the Court to determine the law. See
Burkhart v. Washington Metro. Area Transit Auth., 112 F.3d 1207, 1212 (D.C. Cir. 1997)
(“Expert testimony that consists of legal conclusions cannot properly assist the trier of fact in
either respect, and thus it is not ‘otherwise admissible.’” (internal citation omitted)); Sparton
Corp. v. United States, 77 Fed. Cl. 1, 6 (2007) (“Plaintiff is not entitled to present its legal
arguments from the witness stand in the guise of expert testimony and the weight of authority
recommends exclusion of the testimony under these circumstances.”). Matters of law are
ultimately reserved for the Court. As such, any statement purporting to explain, analyze, or
decide legal concepts, which are matters for the Court to decide, must be excluded.

         Hearsay, which “is a statement, other than one made by the declarant while testifying at
the trial or hearing, offered in evidence to prove the truth of the matter asserted,” Fed. R. Evid.
801(c), is not admissible unless an exception applies. Fed. R. Evid. 802; see also Fed. R. Evid.
803-804 (enumerating hearsay exceptions). Ultimately, statements not based upon a declarant’s
personal knowledge or contain hearsay are not admissible. See, e.g., Vesom v. Atchison Hosp.
Ass’n, 279 Fed. App’x 624, 632-34 (10th Cir. 2008) (affirming the district court’s determination
to strike two affidavits because they were not based upon personal knowledge, contained
inadmissible hearsay, or consisted of conclusory statements); Amie v. El Paso Indep. Sch. Dist.,
253 Fed. App’x 447, 452 (5th Cir. 2007) (determining that the district court did not abuse its
discretion by striking an individual’s affidavit that contained “no factual support for her personal
knowledge”); cf. Ryco Constr., Inc. v. United States, 55 Fed. Cl. 184, 196 (2002) (striking
portions of a declaration that contained legal conclusions but declining to strike portions
pertaining to factual issues where the declarant had participated in discussions and made
statements based upon personal knowledge). The Court will not consider statements based on
hearsay unless it is readily apparent that an exception applies.

       For testimony to be admissible, proper foundation must be laid as to the witness’s
personal knowledge, observations, and experience. Pursuant to Rule 602, a witness may testify to

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a matter only if evidence is introduced sufficient to support a finding that the witness has
personal knowledge of the matter. Evidence to prove personal knowledge may consist of the
witness's own testimony. Fed. R. Evid. 602. The Court will not consider statements which lack a
factual foundation.

   III.    Rulings

   1. Roger Bredder

        Roger Bredder has been employed at First Solar, Inc. (“First Solar”) since April 2011.
(Pl.’s Resp. Summ. J., Ex. A at 41). Bredder’s current title is Director, Business Origination
Eastern United States; during the relevant time period for the Silver State Solar Power South
(“SSSPS”) project, Bredder was Director, N.A. Business Development. (Id.). Responsibilities of
that position include client coverage and sales, selling solar modules, buying and selling
development assets, and selling EPC services. (Id.).

         Statement                Objection             Ruling                  Rationale
 “SSSPS was not engaged       Expert Opinion;       Overruled.         As to whether this
 in any business activities   Legal Conclusion                         statement qualifies as an
 when we sold all of the                                               expert opinion, this
 membership interests in                                               statement was made by an
 SSSPS to NextEra in May                                               employee based on
 2014.” (Id. at 48).                                                   perceptions during their
                                                                       course of business. Since
                                                                       employee had personal
                                                                       knowledge of this
                                                                       industry, their statement is
                                                                       helpful to clear
                                                                       understanding of facts and
                                                                       issues presented in case
                                                                       and does not involve
                                                                       specialized scientific or
                                                                       technical knowledge. As
                                                                       to whether this qualifies as
                                                                       a legal conclusion, the
                                                                       Court finds that this
                                                                       statement is based on the
                                                                       declarant’s opinion
                                                                       developed through the
                                                                       regular course of business
                                                                       and does not purport to
                                                                       explain, analyze, or decide
                                                                       legal concepts.

 “There was no way            Foundation            Overruled.         As to the adequacy of
 NextEra would have paid                                               foundation prior to this

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hundreds of millions of                                         statement, the Court finds
dollars to First Solar unless                                   that proper foundation has
and until they got                                              been laid as to Declarant’s
appropriate value in return                                     role in the subject
. . ..” (Id. at 53).                                            transaction or industry
                                                                allowing this statement to
                                                                be admissible.

“. . . the project company     Legal Conclusion;   Overruled.   As to whether this
was not engaged in any         Expert Opinion.                  statement qualifies as an
business activities.” . . . “A                                  expert opinion, this
business did not exist.” (Id.                                   statement was made by an
at 54).                                                         employee based on
                                                                perceptions during their
                                                                course of business. Since
                                                                employee had personal
                                                                knowledge of this
                                                                industry, their statement is
                                                                helpful to clear
                                                                understanding of facts and
                                                                issues presented in case
                                                                and does not involve
                                                                specialized scientific or
                                                                technical knowledge. As
                                                                to whether this qualifies as
                                                                a legal conclusion, the
                                                                Court finds that this
                                                                statement is based on the
                                                                declarant’s opinion
                                                                developed through the
                                                                regular course of business
                                                                and does not purport to
                                                                explain, analyze, or decide
                                                                legal concepts.

“Plaintiff’s counsel has     Legal Opinion,        Overruled.   This statement was made
asked me to respond to the Expert Opinion                       by an employee based on
question whether the                                            perceptions from their
purchase price for the                                          course of business. Since
project assets transferred                                      employee had personal
under the MIPSA was                                             knowledge of this
intentionally set at cost so                                    industry, their statement is
that any excess value in                                        helpful to clear
those assets was paid                                           understanding of facts and
under the EPC Agreement.                                        issues presented in case
The answer is no. As far as                                     and does not involve

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I know, the MIPSA                                                 specialized scientific or
purchase price was always                                         technical knowledge. As
going to be set as a                                              to whether this qualifies as
reimbursement of our                                              a legal conclusion, the
development costs. This                                           Court finds that this
had been industry practice                                        statement is based on the
for many years.” (Id.).                                           declarant’s opinion
                                                                  developed through the
                                                                  regular course of business
                                                                  and does not purport to
                                                                  explain, analyze, or decide
                                                                  legal concepts. However,
                                                                  the Court also finds that
                                                                  this statement requires an
                                                                  assessment of credibility
                                                                  of the declarant. Thus,
                                                                  while otherwise
                                                                  admissible, the Court will
                                                                  not consider its substance
                                                                  for purposes of summary
                                                                  judgment.

“I would add that it was       Expert Opinion,       Overruled.   As to whether this
very important, perhaps        Foundation                         statement qualifies as an
more so for NextEra, that                                         expert opinion, this
the two agreements reflect                                        statement was made by an
payment for the specific                                          employee based on
items being delivered and                                         perceptions during their
for the specific obligations                                      course of business. Since
being assumed.” (Id. at                                           employee had personal
55).                                                              knowledge of this
                                                                  industry, their statement is
                                                                  helpful to clear
                                                                  understanding of facts and
                                                                  issues presented in case
                                                                  and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge. As
                                                                  to the adequacy of
                                                                  foundation prior to this
                                                                  statement, the Court finds
                                                                  that proper foundation has
                                                                  been laid as to Declarant’s
                                                                  role in the subject
                                                                  transaction or industry
                                                                  allowing this statement to

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                                                                         be admissible. However,
                                                                         the Court also finds that
                                                                         this statement requires an
                                                                         assessment of credibility
                                                                         of the declarant. Thus,
                                                                         while otherwise
                                                                         admissible, the Court will
                                                                         not consider its substance
                                                                         for purposes of summary
                                                                         judgment.

    “The buyer, on the other   Expert Opinion,         Overruled.        As to whether this
    hand, would have a         Foundation                                statement qualifies as an
    different view. They would                                           expert opinion, this
    not be so much concerned                                             statement was made by an
    about our costs, but                                                 employee based on
    making sure that what they                                           perceptions during their
    were paying for, when                                                course of business. Since
    they were actually paying                                            employee had personal
    for it, had the value to                                             knowledge of this
    them that was being                                                  industry, their statement is
    reflected in those                                                   helpful to clear
    schedules. From NextEra's                                            understanding of facts and
    standpoint, they did not                                             issues presented in case
    want to pay too much, too                                            and does not involve
    soon and be exposed if                                               specialized scientific or
    there was a default on the                                           technical knowledge. As
    contract.” (Id. at 58–59).                                           to the adequacy of
                                                                         foundation prior to this
                                                                         statement, the Court finds
                                                                         that proper foundation has
                                                                         been laid as to Declarant’s
                                                                         role in the subject
                                                                         transaction or industry
                                                                         allowing this statement to
                                                                         be admissible.

    “In my experience, the       Expert Opinion;       Overruled.        As to whether this
    model was standard for a     Foundation 2                            statement qualifies as an
    self-developed project like                                          expert opinion, this
    Silver State South – it is                                           statement was made by an
    standard for First Solar and                                         employee based on



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 This statement is listed twice in Defendant’s objections. Because it appears to be a scrivener’s
error, the Court will address it once.
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also in the industry.” (Id.                                      perceptions during their
at 60).                                                          course of business. Since
                                                                 employee had personal
                                                                 knowledge of this
                                                                 industry, their statement is
                                                                 helpful to clear
                                                                 understanding of facts and
                                                                 issues presented in case
                                                                 and does not involve
                                                                 specialized scientific or
                                                                 technical knowledge. As
                                                                 to the adequacy of
                                                                 foundation prior to this
                                                                 statement, the Court finds
                                                                 that proper foundation has
                                                                 been laid as to Declarant’s
                                                                 role in the subject
                                                                 transaction or industry
                                                                 allowing this statement to
                                                                 be admissible.

“In the [Investment Tax       Expert Opinion        Overruled.   This statement was made
Credit] space, my                                                by an employee based on
understanding is the                                             perceptions during their
treatment of a project                                           course of business based
specific [Power Purchase                                         on their personal
Agreement] was fairly                                            understanding. Since
understood and settled.”                                         employee had personal
(Id. at 61).                                                     knowledge of this
                                                                 industry, their statement is
                                                                 helpful to clear
                                                                 understanding of facts and
                                                                 issues presented in case
                                                                 and does not involve
                                                                 specialized scientific or
                                                                 technical knowledge.

“I do not agree with the      Expert Opinion        Overruled.   As to whether this
suggestion that a PPA has                                        statement qualifies as an
separate value apart from                                        expert opinion, this
the power plant.” (Id. at                                        statement was made by an
63).                                                             employee based on
                                                                 perceptions during their
                                                                 course of business. Since
                                                                 employee had personal
                                                                 knowledge of this

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                                                                        industry, their statement is
                                                                        helpful to clear
                                                                        understanding of facts and
                                                                        issues presented in case
                                                                        and does not involve
                                                                        specialized scientific or
                                                                        technical knowledge.
                                                                        Further, the Court finds
                                                                        that because this statement
                                                                        is applicable to the subject
                                                                        transaction as opposed to
                                                                        the industry, it will
                                                                        therefore be considered in
                                                                        that narrow sense.

 “So I would not view the      Expert Opinion        Sustained.         As to whether this
 PPA as having any                                                      statement qualifies as an
 material value when we                                                 expert opinion, this
 closed the sale of the                                                 statement describes
 project.” (Id. at 64).                                                 “material value” and
                                                                        therefore involves
                                                                        specialized scientific or
                                                                        technical knowledge
                                                                        which must be testified to
                                                                        by an expert witness.

   2. Max Gardner

        Max Gardner was employed at First Solar from 2010 through April 3, 2020 and involved
in the negotiations and transactions with NextEra regarding Silver State. (Pl.’s Resp. Summ. J.,
Ex. B at 1–2). Most recently, Gardner’s title was Vice President of Financial Planning and
Corporate Development, but Gardner was previously Manager of Project Finance, Director of
Project Finance, and Vice President of Americas, Project Finance. (Id.).

          Statement                Objection             Ruling                   Rationale
 “NextEra’s goal was to        Foundation            Sustained.         As to the adequacy of
 achieve the lowest possible                                            foundation prior to this
 prices under the MIPSA                                                 statement, the Court finds
 and the EPC Agreement                                                  that an adequate foundation
 and to shift risk under                                                has not been laid allowing
 those contracts to First                                               this statement to be
 Solar.” (Id. at 7).                                                    admissible. This declarant
                                                                        cannot testify to the goals
                                                                        or thoughts of a company
                                                                        he was not employed by.


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“The EPC Agreement is a        Legal Conclusion      Sustained.   As to whether this qualifies
mixed supply and services                                         as a legal conclusion, the
contract.” (Id. at 9).                                            Court finds that this
                                                                  statement, insomuch as it
                                                                  classifies types of
                                                                  contracts, purports to
                                                                  explain, analyze, or decide
                                                                  legal concepts which must
                                                                  be determined by the Court
                                                                  after consideration of all
                                                                  facts and evidence.

“There is nothing            Legal Conclusion,       Sustained.   As to whether this qualifies
extraordinary about this     Expert Opinion                       as a legal conclusion, the
provision in the MIPSA . . .                                      Court finds that this
The EPC Agreement was                                             statement, insomuch as it
in fact signed on the                                             classifies whether the
closing date but this does                                        MIPSA and EPC
not mean that the MIPSA                                           Agreement were part of a
and the EPC Agreement                                             single transaction, purports
were part of a single                                             to explain, analyze, or
transaction.” (Id. at 10).                                        decide legal concepts
                                                                  which must be determined
                                                                  by the Court after
                                                                  consideration of all facts
                                                                  and evidence.

“That is, no party other       Expert Opinion        Sustained.   As to whether this
than First Solar could have                                       statement qualifies as an
taken on the scope, risk,                                         expert opinion, this
and timing elements of the                                        statement involves
EPC Agreement.” (Id. at                                           specialized scientific or
11).                                                              technical knowledge which
                                                                  must be testified to by an
                                                                  expert witness.

“The fact that the MIPSA       Expert Opinion;       Sustained.   As to whether this qualifies
included adjustment            Legal Conclusion                   as a legal conclusion, the
information relevant to the                                       Court finds that this
EPC Price does not, in my                                         statement purports to
view, make the two                                                explain, analyze, or decide
separate agreements a                                             legal concepts which must
single transaction.” (Id. at                                      be determined by the Court
12).                                                              after consideration of all
                                                                  facts and evidence.
                                                                  Specifically, whether the

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                                                                   MIPSA and EPC
                                                                   Agreement were a part of a
                                                                   single transaction is an
                                                                   issue that must be decided
                                                                   by the Court.
“The MIPSA and the EPC Legal Conclusion               Sustained.   As to whether this qualifies
Agreement were separate                                            as a legal conclusion, the
contracts that had separate                                        Court finds that this
purposes and timing.” (Id.).                                       statement purports to
                                                                   explain, analyze, or decide
                                                                   legal concepts which must
                                                                   be determined by the Court
                                                                   after consideration of all
                                                                   facts and evidence.
                                                                   Specifically, whether the
                                                                   MIPSA and EPC
                                                                   Agreement were a part of a
                                                                   single transaction is an
                                                                   issue that must be decided
                                                                   by the Court.

“A Project Model is a           Expert Opinion        Overruled.   As to whether this
common tool in the solar                                           statement qualifies as an
industry that is used to                                           expert opinion, this
objectively adjust the EPC                                         statement was made by an
Price after the parties have                                       employee based on
reached agreement on the                                           perceptions during their
EPC Price and the return                                           course of business. Since
(“internal rate of return” or                                      employee had personal
“IRR”) required by the                                             knowledge of this industry,
purchaser of the solar                                             their statement is helpful to
project.” (Id. at 14).                                             clear understanding of facts
                                                                   and issues presented in
                                                                   case and does not involve
                                                                   specialized scientific or
                                                                   technical knowledge.

“The acquisition was         Legal Conclusion         Sustained.   As to whether this qualifies
exempted, however,                                                 as a legal conclusion, the
because substantially all of                                       Court finds that this
the assets held by SSSPS at                                        statement attempts to apply
the closing date and that                                          or explain federal
were being acquired were                                           regulations and purports to
exempt ‘unproductive real                                          explain, analyze, or decide
property’ pursuant to 16                                           legal concepts which must
C.F.R. § 802.2(c).” (Id. at                                        be determined by the Court

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18).                                                            after consideration of all
                                                                facts and evidence.

“The only amount that        Expert Opinion        Overruled.   As to whether this
NextEra paid on account of                                      statement qualifies as an
the PPA was the $84,857                                         expert opinion, this
amount allocated to the                                         statement was made by an
PPA in Exhibit T to the                                         employee based on
MIPSA.” (Id. at 20).                                            perceptions during their
                                                                course of business. Since
                                                                employee had personal
                                                                knowledge of this industry,
                                                                their statement is helpful to
                                                                clear understanding of facts
                                                                and issues presented in
                                                                case and does not involve
                                                                specialized scientific or
                                                                technical knowledge.

“NextEra paid only           Expert Opinion        Overruled.   As to whether this
$84,857 on account of the                                       statement qualifies as an
PPA under the MIPSA,                                            expert opinion, this
which was the agreed-upon                                       statement was made by an
cost that the parties                                           employee based on
allocated to the PPA under                                      perceptions during their
Exhibit T to the MIPSA.”                                        course of business. Since
(Id. at 28).                                                    employee had personal
                                                                knowledge of this industry,
                                                                their statement is helpful to
                                                                clear understanding of facts
                                                                and issues presented in
                                                                case and does not involve
                                                                specialized scientific or
                                                                technical knowledge.

“First Solar did not view    Expert Opinion        Overruled.   As to whether this
the PPA as an ‘above                                            statement qualifies as an
market’ contract.” (Id. at                                      expert opinion, this
29).                                                            statement was made by an
                                                                employee based on
                                                                perceptions during their
                                                                course of business. Since
                                                                employee had personal
                                                                knowledge of this industry,
                                                                their statement is helpful to
                                                                clear understanding of facts

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                                                                and issues presented in
                                                                case and does not involve
                                                                specialized scientific or
                                                                technical knowledge.

“As I testified in my         Expert Opinion;      Overruled.   As to whether this
deposition, the               Legal Conclusion                  statement qualifies as an
interconnection agreement                                       expert opinion, this
was not a source of                                             statement was made by an
revenue for the project. It                                     employee based on
represented an ongoing                                          perceptions during their
liability to the ultimate                                       course of business. Since
project owner (here,                                            employee had personal
NextEra).” (Id. at 32).                                         knowledge of this industry,
                                                                their statement is helpful to
                                                                clear understanding of facts
                                                                and issues presented in
                                                                case and does not involve
                                                                specialized scientific or
                                                                technical knowledge. As to
                                                                whether this qualifies as a
                                                                legal conclusion, the Court
                                                                finds that this statement is
                                                                based on the declarant’s
                                                                opinion developed through
                                                                the regular course of
                                                                business and does not
                                                                purport to explain, analyze,
                                                                or decide legal concepts.

“The LGIA for Silver State    Foundation; Expert   Overruled.   As to the adequacy of
South had similar terms as    Opinion; Legal                    foundation prior to this
other interconnection         Conclusion                        statement, the Court finds
agreements entered into by                                      that proper foundation has
First Solar and other                                           been laid as to Declarant’s
developers during this                                          role in the subject
period.” (Id.).                                                 transaction or industry
                                                                allowing this statement to
                                                                be admissible. As to
                                                                whether this statement
                                                                qualifies as an expert
                                                                opinion, this statement was
                                                                made by an employee
                                                                based on perceptions
                                                                during their course of
                                                                business. Since employee

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                                                                     had personal knowledge of
                                                                     this industry, their
                                                                     statement is helpful to clear
                                                                     understanding of facts and
                                                                     issues presented in case
                                                                     and does not involve
                                                                     specialized scientific or
                                                                     technical knowledge. As to
                                                                     whether this qualifies as a
                                                                     legal conclusion, the Court
                                                                     finds that this statement is
                                                                     based on the declarant’s
                                                                     opinion developed through
                                                                     the regular course of
                                                                     business and does not
                                                                     purport to explain, analyze,
                                                                     or decide legal concepts.

   3. Jaime Scarff

        Jaime Scarff has been employed at NextEra Energy Resources, LLC, and its predecessor,
FPL Group (“NextEra”). (Pl.’s Resp. Summ. J., Ex. C at 276). Scarff is currently Director of
Development—Mergers and Acquisitions Distributed Generation. (Id.). At the time of the Silver
State Project, Scarff was Project Director, Business Development. (Id. at 277).

          Statement              Objection             Ruling                  Rationale
 “The MIPSA and the EPC Foundation; Expert         Overruled.        As to the adequacy of
 Agreement were separately Opinion; Legal                            foundation prior to this
 negotiated and had separate Conclusion                              statement, the Court finds
 terms and conditions. They                                          that proper foundation has
 were not intended to and                                            been laid as to Declarant’s
 did not represent one                                               role in the subject
 project sale transaction, as                                        transaction or industry
 I understand the Defendant                                          allowing this statement to
 is arguing. The two                                                 be admissible. As to
 agreements represent two                                            whether this statement
 market contracts. They are                                          qualifies as an expert
 the same types of                                                   opinion, this statement was
 agreements used in other                                            made by an employee
 acquisitions undertaken by                                          based on perceptions
 NextEra and that are                                                during their course of
 common in wind and solar                                            business. Since employee
 transactions.” (Id. at 280).                                        had personal knowledge of
                                                                     this industry, their
                                                                     statement is helpful to clear
                                                                     understanding of facts and

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                                                                    issues presented in case
                                                                    and does not involve
                                                                    specialized scientific or
                                                                    technical knowledge. As to
                                                                    whether this qualifies as a
                                                                    legal conclusion, the Court
                                                                    finds that this statement is
                                                                    based on the declarant’s
                                                                    opinion developed through
                                                                    the regular course of
                                                                    business and does not
                                                                    purport to explain, analyze,
                                                                    or decide legal concepts.

“There was nothing unique      Expert Opinion        Overruled.     As to whether this
about this adjustment.” (Id.                                        statement qualifies as an
at 281).                                                            expert opinion, this
                                                                    statement was made by an
                                                                    employee based on
                                                                    perceptions during their
                                                                    course of business. Since
                                                                    employee had personal
                                                                    knowledge of this industry,
                                                                    their statement is helpful to
                                                                    clear understanding of facts
                                                                    and issues presented in
                                                                    case and does not involve
                                                                    specialized scientific or
                                                                    technical knowledge.

“The MIPSA purchase          Legal Conclusion        Overruled in   As to whether this qualifies
price and the EPC price                              part and       as a legal conclusion, the
were separately negotiated                           sustained in   Court finds that the first
and represented separate                             part.          sentence is based on the
pricing. The parties                                                declarant’s opinion
intended that the prices                                            developed through the
under the two contracts be                                          regular course of business
separately determined and                                           and does not purport to
there was no total pricing                                          explain, analyze, or decide
or combined pricing.” (Id.).                                        legal concepts. However,
                                                                    the Court finds that the
                                                                    second sentence (“The
                                                                    parties intended that the
                                                                    prices under the two
                                                                    contracts be separately
                                                                    determined and there was

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                                                                    no total pricing or
                                                                    combined pricing”)
                                                                    purports to explain,
                                                                    analyze, or decide legal
                                                                    concepts which must be
                                                                    determined by the Court
                                                                    after consideration of all
                                                                    facts and evidence.

“The Financial Model was         Expert Opinion        Overruled.   As to whether this
typical for solar energy                                            statement qualifies as an
projects like Silver State                                          expert opinion, this
South. There was nothing                                            statement was made by an
unique about the Financial                                          employee based on
Model that we used for                                              perceptions during their
Silver State South.” (Id. at                                        course of business. Since
282).                                                               employee had personal
                                                                    knowledge of this industry,
                                                                    their statement is helpful to
                                                                    clear understanding of facts
                                                                    and issues presented in
                                                                    case and does not involve
                                                                    specialized scientific or
                                                                    technical knowledge.

“It is typical in transactions   Expert Opinion        Overruled.   As to whether this
like Silver State South . . .”                                      statement qualifies as an
(Id. at 283).                                                       expert opinion, this
                                                                    statement was made by an
                                                                    employee based on
                                                                    perceptions during their
                                                                    course of business. Since
                                                                    employee had personal
                                                                    knowledge of this industry,
                                                                    their statement is helpful to
                                                                    clear understanding of facts
                                                                    and issues presented in
                                                                    case and does not involve
                                                                    specialized scientific or
                                                                    technical knowledge.

“I have been advised by          Foundation; Expert    Overruled.   As to the adequacy of
Plaintiff's counsel that the     Opinion; Legal                     foundation prior to this
Defendant has asserted that      Conclusion                         statement, the Court finds
the EPC price was                                                   that proper foundation has
determined using the                                                been laid as to Declarant’s

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Financial Model. That was                               role in the subject
not the case. The EPC                                   transaction or industry
price was separately and                                allowing this statement to
independently negotiated                                be admissible. As to
by our E&C group, namely                                whether this statement
Mr. Brannen, and then                                   qualifies as an expert
presented to First Solar as                             opinion, this statement was
our offer for their EPC                                 made by an employee
work. The EPC price was a                               based on perceptions
negotiated number between                               during their course of
the parties. Once the                                   business. Since employee
parties agreed to an EPC                                had personal knowledge of
price, the Financial Model                              this industry, their
was used to capture                                     statement is helpful to clear
assumptions underlying the                              understanding of facts and
EPC price, and make                                     issues presented in case
adjustments to the EPC                                  and does not involve
price as we completed our                               specialized scientific or
diligence and made                                      technical knowledge. As to
changes to the facility's                               whether this qualifies as a
design, output and                                      legal conclusion, the Court
underlying assumptions. In                              finds that this statement is
general, the adjustments                                based on the declarant’s
under the Financial Model                               opinion developed through
caused a reduction in the                               the regular course of
EPC price. I would add                                  business and does not
that from NextEra's                                     purport to explain, analyze,
perspective, we were                                    or decide legal concepts.
interested in only one
number in the Financial
Model - the single cell that
included the adjusted EPC
price which was the
amount we would have to
pay to First Solar to build
the power plant. For the
avoidance of doubt, the
Financial Model was not
used to determine the EPC
price as a function of a rate
of return, but limited to
determining EPC price
adjustments as described
above. We had our own
internal model that
calculated NextEra's return

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 information and was more
 relevant for our purposes
 than First Solar's Financial
 Model.” (Id. at 283–84).

 “I also have been advised       Expert Opinion        Overruled in    As to whether this
 that the Defendant has                                part and        statement qualifies as an
 asserted that the Financial                           sustained in    expert opinion, this
 Model reflected Silver                                part.           statement was made by an
 State South's "use of both                                            employee based on
 tangible and intangible                                               perceptions during their
 assets." I am not sure what                                           course of business. Since
 that even means. If the                                               employee had personal
 suggestion is that the                                                knowledge of this industry,
 Financial Model included                                              their statement is helpful to
 revenues for power sold                                               clear understanding of facts
 under the PPA, every                                                  and issues presented in
 financial model in the                                                case and does not involve
 industry includes this same                                           specialized scientific or
 information. The Financial                                            technical knowledge.
 Model related to the power                                            However, the portion
 plant that was to be built at                                         stating, “every financial
 Silver State South and the                                            model in the industry
 return generated by that                                              includes this same
 plant. The purpose of the                                             information,” involves
 Financial Model was not to                                            specialized scientific or
 value the PPA or to reflect                                           technical knowledge which
 the “use” of the PPA.”                                                must be testified to by an
 (Id.).                                                                expert witness. As such,
                                                                       that portion will not be
                                                                       considered by the Court.

   4. Gregory Schneck

       Gregory Schneck has been employed by NextEra since 1998. (Pl.’s Resp. Summ. J., Ex.
C at 587). Schneck’s current title is Vice President, Business Development Services; during the
relevant transaction, Schneck was Vice President, Business Development, with responsibilities
focused on developing solar energy properties. (Id. at 588).

          Statement                  Objection             Ruling               Rationale
 “There was nothing              Expert Opinion        Overruled.      As to whether this
 uncommon from my                                                      statement qualifies as an
 perspective about the                                                 expert opinion, this
 MIPSA and the EPC                                                     statement was made by an
 Agreement with respect to                                             employee based on
 Silver State South.” (Id. at                                          perceptions during their

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591).                                                               course of business. Since
                                                                    employee had personal
                                                                    knowledge of this industry,
                                                                    their statement is helpful to
                                                                    clear understanding of facts
                                                                    and issues presented in
                                                                    case and does not involve
                                                                    specialized scientific or
                                                                    technical knowledge.

“I understand from              Expert Opinion.        Overruled.   As to whether this
Plaintiff’s counsel that the                                        statement qualifies as an
Defendant has asserted that                                         expert opinion, this
the MIPSA and the EPC                                               statement was made by an
Agreement for Silver State                                          employee based on
South were really one                                               perceptions during their
transaction that transferred                                        course of business. Since
the Silver State South                                              employee had personal
project to NextEra. I                                               knowledge of this industry,
disagree with that                                                  their statement is helpful to
characterization. I                                                 clear understanding of facts
considered them to be two                                           and issues presented in
separate transactions for a                                         case and does not involve
number of reasons.” (Id. at                                         specialized scientific or
592).                                                               technical knowledge.
                                                                    Based on the
                                                                    inapplicability of the
                                                                    specific objection, the
                                                                    statement is admissible.
                                                                    This ruling does not
                                                                    preclude objections made
                                                                    during the pendency of
                                                                    trial.

“The MIPSA is a common          Expert Opinion         Overruled.   As to whether this
transaction and the terms                                           statement qualifies as an
of the MIPSA transaction                                            expert opinion, this
in the case of Silver State                                         statement was made by an
South were consistent with                                          employee based on
other project acquisitions                                          perceptions during their
by NextEra- whether                                                 course of business. Since
NextEra also hired the                                              employee had personal
seller of the project as its                                        knowledge of this industry,
EPC contractor (as was the                                          their statement is helpful to
case with Silver State                                              clear understanding of facts
South) or not.” (Id. at 593).                                       and issues presented in

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                                                                   case and does not involve
                                                                   specialized scientific or
                                                                   technical knowledge.

“The reimbursement              Expert Opinion        Overruled.   As to whether this
method used in the MIPSA                                           statement qualifies as an
for Silver State South was                                         expert opinion, this
similar to other project sale                                      statement was made by an
transactions that I have                                           employee based on
worked on. This method                                             perceptions during their
was common.” (Id. at 594).                                         course of business. Since
                                                                   employee had personal
                                                                   knowledge of this industry,
                                                                   their statement is helpful to
                                                                   clear understanding of facts
                                                                   and issues presented in
                                                                   case and does not involve
                                                                   specialized scientific or
                                                                   technical knowledge.

“I understand that the          Expert Opinion        Overruled.   As to whether this
Defendant has pointed to                                           statement qualifies as an
the Project Financial                                              expert opinion, this
Model used to set the EPC                                          statement was made by an
Price as evidence that the                                         employee based on
MIPSA and EPC                                                      perceptions during their
Agreement represented                                              course of business. Since
one, combined purchase                                             employee had personal
price for the project. I do                                        knowledge of this industry,
not agree that the Project                                         their statement is helpful to
Financial Model had this                                           clear understanding of facts
significance.” (Id. at 595).                                       and issues presented in
                                                                   case and does not involve
                                                                   specialized scientific or
                                                                   technical knowledge.

“I also understand that the     Legal Conclusion      Overruled.   As to whether this qualifies
Defendant has asserted that                                        as a legal conclusion, the
the Renewable Power                                                Court finds that this
Purchase and Sale                                                  statement is based on the
Agreement (“PPA”)                                                  declarant’s opinion
between Southern                                                   developed through the
California Edison                                                  regular course of business
Company (“SCE”) and the                                            and does not purport to
project company should be                                          explain, analyze, or decide
treated as a separate                                              legal concepts. Based on

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intangible asset and that                                         the inapplicability of the
additional value should be                                        specific objection, the
assigned to it over and                                           statement is admissible.
above that assigned to it in                                      This ruling does not
the MIPSA. I disagree with                                        preclude objections made
the Defendant’s assertion                                         during the pendency of
for multiple reasons.” (Id.                                       trial.
at 596).

“In my experience, buyers      Expert Opinion        Overruled.   As to whether this
would pay what we paid                                            statement qualifies as an
for the bundle of safe                                            expert opinion, this
harbor modules, contracts,                                        statement was made by an
and permits that was                                              employee based on
transferred under the                                             perceptions during their
MIPSA.” (Id. at 597).                                             course of business. Since
                                                                  employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge.

“I disagree with this          Expert Opinion        Overruled.   As to whether this
assertion.” (Id.).                                                statement qualifies as an
                                                                  expert opinion, this
                                                                  statement was made by an
                                                                  employee based on
                                                                  perceptions during their
                                                                  course of business. Since
                                                                  employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge.

“All projects have risks,     Expert Opinion         Overruled.   As to whether this
but Silver State South was                                        statement qualifies as an
more complicated than                                             expert opinion, this
most projects.” (Id. at 598).                                     statement was made by an
                                                                  employee based on

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                                                                  perceptions during their
                                                                  course of business. Since
                                                                  employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge.

“In order to mitigate this     Foundation            Overruled.   As to the adequacy of
risk, NextEra attempted to                                        foundation prior to this
shift the Section 1603 risk                                       statement, the Court finds
to First Solar, as the                                            that proper foundation has
developer of the project.                                         been laid as to Declarant’s
The Section 1603 risk was                                         role in the subject
similar to other risks                                            transaction or industry
associated with the Silver                                        allowing this statement to
State South project that the                                      be admissible.
parties negotiated and
allocated between the
owner and the
developer/contractor. In
this circumstance, First
Solar agreed to accept a
portion of the risk related
to the Section 1603 grant –
up to a $100 million cap –
in the form of an
indemnity. NextEra
remained at risk for the
remaining amounts of the
grant for the project.” (Id.
at 603).

“Tax indemnities are           Expert Opinion        Overruled.   As to whether this
typical in the renewable                                          statement qualifies as an
energy industry. The risk                                         expert opinion, this
allocation that the parties                                       statement was made by an
agreed upon in the Silver                                         employee based on
State South deal was not                                          perceptions during their
uncommon.” (Id.).                                                 course of business. Since
                                                                  employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to

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                                                                     clear understanding of facts
                                                                     and issues presented in
                                                                     case and does not involve
                                                                     specialized scientific or
                                                                     technical knowledge.
   5. Garth Henderson

        Garth Henderson has been employed as an accountant for NextEra since June of 2002.
(Pl.’s Resp. Summ. J., Ex. B at 62).

          Statement                 Objection              Ruling              Rationale
 “NextEra’s financial           Expert Opinion;        Overruled.    As to whether this
 accounting books and           Foundation                           statement qualifies as an
 records show that there is                                          expert opinion, this
 not an excess of total                                              statement was made by an
 consideration over the                                              employee based on
 aggregate book value of                                             perceptions during their
 the tangible and intangible                                         course of business. Since
 assets purchased in                                                 employee had personal
 NextEra's acquisition of                                            knowledge of this industry,
 Silver State South.” (Id. at                                        their statement is helpful to
 65) (emphasis in original).                                         clear understanding of facts
                                                                     and issues presented in
                                                                     case and does not involve
                                                                     specialized scientific or
                                                                     technical knowledge. As to
                                                                     the adequacy of foundation
                                                                     prior to this statement, the
                                                                     Court finds that proper
                                                                     foundation has been laid as
                                                                     to Declarant’s role in the
                                                                     subject transaction or
                                                                     industry allowing this
                                                                     statement to be admissible.

 “Applying ASC 805 and        Expert Opinion           Overruled.    As to whether this
 the principles above, I                                             statement qualifies as an
 concluded that NextEra' s                                           expert opinion, this
 purchase of Silver State                                            statement was made by an
 South was not a business                                            employee based on
 combination because Silver                                          perceptions during their
 State South was not a                                               course of business. Since
 business as of May 23,                                              employee had personal
 2014, the date that the sale                                        knowledge of this industry,
 of Silver State South                                               their statement is helpful to
 closed. Specifically, at the                                        clear understanding of facts

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time of its acquisition on                                       and issues presented in
May 23, 2014, construction                                       case and does not involve
of the Silver State South                                        specialized scientific or
solar facility had not                                           technical knowledge.
started; Silver State South
was not capable of
providing a return or other
economic benefits to
NextEra and would not be
capable of providing a
return or other economic
benefits until construction
of the solar facility was
completed (not for another
two years until 2016); and
neither NextEra nor any
other market participant
would be capable of
conducting or managing
the assets acquired from
First Solar as a business as
of the May 23, 2014
acquisition date. As a result
of my conclusion that
Silver State South was not
acquired as a business, the
Silver State South sale was
accounted for as an
acquisition of a bundle of
assets under ASC 805-50,
Business Combinations -
Related Issues.” (Id. at 67–
68).

“The total consideration is Expert Opinion        Overruled in   As to whether this
comprised of two amounts                          part and       statement qualifies as an
. . . For GAAP accounting                         sustained in   expert opinion, the first
purposes, contractual                             part.          portion of the statement
liabilities are treated as part                                  was made by an employee
of the total consideration                                       based on perceptions
under certain                                                    during their course of
circumstances.” (Id. at 69–                                      business. Since employee
70).                                                             had personal knowledge of
                                                                 this industry, their
                                                                 statement is helpful to clear
                                                                 understanding of facts and

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                                                               issues presented in case
                                                               and does not involve
                                                               specialized scientific or
                                                               technical knowledge.
                                                               However, the Court finds
                                                               that the second portion
                                                               (“For GAAP accounting
                                                               purposes, contractual
                                                               liabilities are treated as part
                                                               of the total consideration
                                                               under certain
                                                               circumstances.”) involves
                                                               specialized scientific or
                                                               technical knowledge which
                                                               must be testified to by an
                                                               expert witness. That
                                                               portion of the statement
                                                               will not be considered by
                                                               the Court.

“ . . . Those assets include Expert Opinion;      Overruled.   As to whether this
both the tangible and        Legal Conclusion                  statement qualifies as an
intangible assets acquired                                     expert opinion, this
in the acquisition but do                                      statement was made by an
not include any goodwill or                                    employee based on
going concern value.” (Id.                                     perceptions during their
at 70).                                                        course of business. Since
                                                               employee had personal
                                                               knowledge of this industry,
                                                               their statement is helpful to
                                                               clear understanding of facts
                                                               and issues presented in
                                                               case and does not involve
                                                               specialized scientific or
                                                               technical knowledge. As to
                                                               whether this qualifies as a
                                                               legal conclusion, the Court
                                                               finds that this statement is
                                                               based on the declarant’s
                                                               opinion developed through
                                                               the regular course of
                                                               business and does not
                                                               purport to explain, analyze,
                                                               or decide legal concepts.

“The PPA did not meet the   Expert Opinion        Overruled.   As to whether this

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first criterion above                                          statement qualifies as an
because it was not                                             expert opinion, this
separable.” (Id. at 71).                                       statement was made by an
                                                               employee based on
                                                               perceptions during their
                                                               course of business. Since
                                                               employee had personal
                                                               knowledge of this industry,
                                                               their statement is helpful to
                                                               clear understanding of facts
                                                               and issues presented in
                                                               case and does not involve
                                                               specialized scientific or
                                                               technical knowledge.

“None of the total            Expert Opinion;   Overruled in   As to whether this
consideration was allocated Legal Conclusion    part and       statement qualifies as an
to goodwill or going                            sustained in   expert opinion, this
concern value because                           part.          statement was generally
goodwill and going                                             made by an employee
concern value did not exist                                    based on perceptions
in the acquisition of Silver                                   during their course of
State South. As stated                                         business. Since employee
above, NextEra treated the                                     had personal knowledge of
acquisition of Silver State                                    this industry, their
South as the acquisition of                                    statement is helpful to clear
a bundle of assets. NextEra                                    understanding of facts and
did not treat the acquisition                                  issues presented in case
of Silver State South as a                                     and does not involve
business combination                                           specialized scientific or
involving the acquisition of                                   technical knowledge.
a business. Therefore, there                                   However, the portion in the
was no goodwill or going                                       second sentence stating,
concern value recorded or                                      “or recordable,” involves
recordable in NextEra's                                        specialized scientific or
financial accounting books                                     technical knowledge which
and records.” (Id. at 71–                                      must be testified to by an
72).                                                           expert witness. As such,
                                                               that portion will not be
                                                               considered by the Court.
                                                               As to whether this qualifies
                                                               as a legal conclusion, the
                                                               Court finds that this
                                                               statement is based on the
                                                               declarant’s opinion
                                                               developed through the

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                                                                    regular course of business
                                                                    and does not purport to
                                                                    explain, analyze, or decide
                                                                    legal concepts.

“NextEra’s financial            Expert Opinion.        Overruled.   As to whether this
accounting books and                                                statement qualifies as an
records reflect a bargain                                           expert opinion, this
purchase . . . There was no                                         statement was made by an
goodwill or going concern                                           employee based on
value reflected in                                                  perceptions during their
NextEra’s financial                                                 course of business. Since
accounting books or                                                 employee had personal
records.” (Id. at 72).                                              knowledge of this industry,
                                                                    their statement is helpful to
                                                                    clear understanding of facts
                                                                    and issues presented in
                                                                    case and does not involve
                                                                    specialized scientific or
                                                                    technical knowledge.

“Further, I am aware that       Hearsay;               Sustained.   As to whether this
Bill Brannen, who was           Foundation; Expert                  statement constitutes
NextEra’s lead negotiator       Opinion                             inadmissible hearsay, the
in the EPC negotiations,                                            Court finds that this
expressly disagreed with                                            statement encompasses an
this statement.” (Id. at 75).                                       out-of-court statement and
                                                                    is offered to prove the truth
                                                                    of the matter asserted.
                                                                    Further, as to the adequacy
                                                                    of foundation prior to this
                                                                    statement, the Court finds
                                                                    that an adequate foundation
                                                                    has not been laid allowing
                                                                    this statement to be
                                                                    admissible.

“I have no reason to            Hearsay; Expert        Overruled.   As to whether this
disagree with Mr.               Opinion                             statement constitutes
Brannen’s testimony or his                                          inadmissible hearsay, the
analysis of the EPC                                                 Court finds that this is not
Agreements for Silver                                               offered to prove the truth
State South and McCoy                                               of the matter asserted.
Solar.” (Id.).

  6. William Brannen

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       William Brannen recently retired from NextEra after having been employed there since
1979. (Pl.’s Resp. Summ. J., Ex. A at 1). Brannen was the lead negotiator for NextEra on the
Engineering, Procurement, and Construction Agreement (“EPC Agreement”). (Id.).

           Statement               Objection             Ruling                 Rationale
 “Those Assets have limited    Expert Opinion        Overruled.       As to whether this
 value without the                                                    statement qualifies as an
 construction of the                                                  expert opinion, this
 associated power plant.”                                             statement was made by an
 (Id. at 6).                                                          employee based on
                                                                      perceptions during their
                                                                      course of business. Since
                                                                      employee had personal
                                                                      knowledge of this industry,
                                                                      their statement is helpful to
                                                                      clear understanding of facts
                                                                      and issues presented in
                                                                      case and does not involve
                                                                      specialized scientific or
                                                                      technical knowledge.

 “Thus the adjustment to the Expert Opinion          Overruled.       As to whether this
 MIPSA was consistent                                                 statement qualifies as an
 with the parties’ agreement                                          expert opinion, this
 and is typical for a MIPSA                                           statement was made by an
 transaction . . . It is typical                                      employee based on
 for the mechanics of the                                             perceptions during their
 adjustment here. . ..” (Id. at                                       course of business. Since
 12).                                                                 employee had personal
                                                                      knowledge of this industry,
                                                                      their statement is helpful to
                                                                      clear understanding of facts
                                                                      and issues presented in
                                                                      case and does not involve
                                                                      specialized scientific or
                                                                      technical knowledge.

 “Few, if any, were able to    Expert Opinion        Overruled.       As to whether this
 offer production guaranties                                          statement qualifies as an
 like First Solar.” (Id. at                                           expert opinion, this
 13).                                                                 statement was made by an
                                                                      employee based on
                                                                      perceptions during their
                                                                      course of business. Since
                                                                      employee had personal

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                                                                knowledge of this industry,
                                                                their statement is helpful to
                                                                clear understanding of facts
                                                                and issues presented in
                                                                case and does not involve
                                                                specialized scientific or
                                                                technical knowledge.

“The fundamental            Expert Opinion         Overruled.   As to whether this
misconception in the                                            statement qualifies as an
Defendant’s view is that                                        expert opinion, this
once the development stage                                      statement was made by an
is complete, the EPC risks                                      employee based on
are minimal, and a project                                      perceptions during their
necessarily will get                                            course of business. Since
constructed. This view is a                                     employee had personal
gross mischaracterization.                                      knowledge of this industry,
The consequences (what                                          their statement is helpful to
can be lost) in the                                             clear understanding of facts
development stage are low                                       and issues presented in
- hundreds of thousands of                                      case and does not involve
dollars. The consequences                                       specialized scientific or
in the EPC stage are                                            technical knowledge.
hundreds of millions and
maybe a billion dollars.”
(Id. at 17).

“There is a well-known       Expert Opinion        Overruled.   As to whether this
risk management concept                                         statement qualifies as an
known as “Low                                                   expert opinion, this
Probability, High Impact”                                       statement was made by an
or “LPHI” events that                                           employee based on
could happen. The                                               perceptions during their
allocation of risk                                              course of business. Since
associated with LPHI                                            employee had personal
events is one of the most                                       knowledge of this industry,
critical aspects of the                                         their statement is helpful to
negotiations with an EPC                                        clear understanding of facts
contractor. Any one of                                          and issues presented in
several possible                                                case and does not involve
occurrences presented                                           specialized scientific or
LPHI risks that could have                                      technical knowledge.
resulted in catastrophic
cost and schedule impacts.
These LPHI events can
occur in the development

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stage of the project, and
their impact might result in
termination of the project,
but at a point where
relatively little investment
was at risk. Once the
construction phase under
the EPC Agreement
begins, on the other hand,
high-dollar commitments
are at risk” (Id.).

“As an illustration, the      Expert Opinion          Overruled.   As to whether this
Defendant’s focus on the                                           statement qualifies as an
PPA as a separate asset of                                         expert opinion, this
extraordinary value ignores                                        statement was made by an
that the PPA cost about                                            employee based on
$85,000 – if the project                                           perceptions during their
does not get built, the                                            course of business. Since
developer or owner is out                                          employee had personal
$85,000. Compare that to                                           knowledge of this industry,
some of the examples that I                                        their statement is helpful to
highlighted in my                                                  clear understanding of facts
deposition where NextEra                                           and issues presented in
ended up with a $60                                                case and does not involve
million loss on a solar                                            specialized scientific or
thermal plant because of a                                         technical knowledge.
nine-month delay in
construction. $85,000
versus $60 million brings
some focus to the realities
of development-stage risks
versus the genuine EPC-
stage risks.” (Id. at 17–18).

“In the EPC business, there     Expert Opinion        Sustained.   As to whether this
can be big swings,                                                 statement qualifies as an
depending on what you                                              expert opinion, this
discover, even with                                                statement testifies to the
something that seems as                                            EPC industry as a while
straightforward as a PV                                            and involves specialized
solar facility.” (Id. at 20).                                      scientific or technical
                                                                   knowledge which must be
                                                                   testified to by an expert
                                                                   witness.


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“Labor is a serious factor       Expert Opinion        Overruled.   As to whether this
in the success or failure of                                        statement qualifies as an
a project . . ..” (Id.).                                            expert opinion, this
                                                                    statement was made by an
                                                                    employee based on
                                                                    perceptions during their
                                                                    course of business. Since
                                                                    employee had personal
                                                                    knowledge of this industry,
                                                                    their statement is helpful to
                                                                    clear understanding of facts
                                                                    and issues presented in
                                                                    case and does not involve
                                                                    specialized scientific or
                                                                    technical knowledge.

“Defendant’s ‘trade or           Expert Opinion;       Overruled.   As to whether this
business’ contention             Legal Conclusion                   statement qualifies as an
assumes that Silver State                                           expert opinion, this
South facility would                                                statement was made by an
necessarily be built when                                           employee based on
NextEra closed on the sale                                          perceptions during their
of the project company and                                          course of business. Since
the development assets.”                                            employee had personal
(Id. at 20–21).                                                     knowledge of this industry,
                                                                    their statement is helpful to
                                                                    clear understanding of facts
                                                                    and issues presented in
                                                                    case and does not involve
                                                                    specialized scientific or
                                                                    technical knowledge. As to
                                                                    whether this qualifies as a
                                                                    legal conclusion, the Court
                                                                    finds that this statement is
                                                                    based on the declarant’s
                                                                    opinion developed through
                                                                    the regular course of
                                                                    business and does not
                                                                    purport to explain, analyze,
                                                                    or decide legal concepts.

“Moreover, ‘shovel ready’        Expert Opinion        Overruled.   As to whether this
does not equate with the                                            statement qualifies as an
absence of risk. . ..” (Id. at                                      expert opinion, this
21).                                                                statement was made by an
                                                                    employee based on

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                                                                  perceptions during their
                                                                  course of business. Since
                                                                  employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge.

“Second, the EPC Price         Expert Opinion        Overruled.   As to whether this
had to stand on its own and                                       statement qualifies as an
reflect standard terms and                                        expert opinion, this
conditions and market-                                            statement was made by an
based pricing.” (Id. at 22).                                      employee based on
                                                                  perceptions during their
                                                                  course of business. Since
                                                                  employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge.

“Third, the MIPSA and the      Expert Opinion;       Overruled.   As to whether this
EPC Agreement had              Legal Conclusion                   statement qualifies as an
independent substance . .                                         expert opinion, this
..” (Id.).                                                        statement was made by an
                                                                  employee based on
                                                                  perceptions during their
                                                                  course of business. Since
                                                                  employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge. As to
                                                                  whether this qualifies as a
                                                                  legal conclusion, the Court
                                                                  finds that this statement is
                                                                  based on the declarant’s

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                                                                     opinion developed through
                                                                     the regular course of
                                                                     business and does not
                                                                     purport to explain, analyze,
                                                                     or decide legal concepts.
“Defendant appears to have Expert Opinion               Overruled.   As to whether this
a fundamental                                                        statement qualifies as an
misunderstanding of a                                                expert opinion, this
fixed price EPC                                                      statement was made by an
Agreement.” (Id. at 23).                                             employee based on
                                                                     perceptions during their
                                                                     course of business. Since
                                                                     employee had personal
                                                                     knowledge of this industry,
                                                                     their statement is helpful to
                                                                     clear understanding of facts
                                                                     and issues presented in
                                                                     case and does not involve
                                                                     specialized scientific or
                                                                     technical knowledge.

“This is a common                 Expert Opinion        Overruled.   As to whether this
construction industry                                                statement qualifies as an
practice.” (Id. at 24).                                              expert opinion, this
                                                                     statement was made by an
                                                                     employee based on
                                                                     perceptions during their
                                                                     course of business. Since
                                                                     employee had personal
                                                                     knowledge of this industry,
                                                                     their statement is helpful to
                                                                     clear understanding of facts
                                                                     and issues presented in
                                                                     case and does not involve
                                                                     specialized scientific or
                                                                     technical knowledge.

“ . . . This is the nature of a   Expert Opinion;       Overruled.   As to whether this
fixed price EPC                   Legal Conclusion                   statement qualifies as an
Agreement.” (Id.)                                                    expert opinion, this
                                                                     statement was made by an
                                                                     employee based on
                                                                     perceptions during their
                                                                     course of business. Since
                                                                     employee had personal
                                                                     knowledge of this industry,

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                                                               their statement is helpful to
                                                               clear understanding of facts
                                                               and issues presented in
                                                               case and does not involve
                                                               specialized scientific or
                                                               technical knowledge. As to
                                                               whether this qualifies as a
                                                               legal conclusion, the Court
                                                               finds that this statement is
                                                               based on the declarant’s
                                                               opinion developed through
                                                               the regular course of
                                                               business and does not
                                                               purport to explain, analyze,
                                                               or decide legal concepts.

“For this reason, the PPA    Expert Opinion;      Overruled.   As to whether this
contract itself involves a   Legal Conclusion                  statement qualifies as an
relatively low-risk                                            expert opinion, this
investment.” (Id. at 26).                                      statement was made by an
                                                               employee based on
                                                               perceptions during their
                                                               course of business. Since
                                                               employee had personal
                                                               knowledge of this industry,
                                                               their statement is helpful to
                                                               clear understanding of facts
                                                               and issues presented in
                                                               case and does not involve
                                                               specialized scientific or
                                                               technical knowledge. As to
                                                               whether this qualifies as a
                                                               legal conclusion, the Court
                                                               finds that this statement is
                                                               based on the declarant’s
                                                               opinion developed through
                                                               the regular course of
                                                               business and does not
                                                               purport to explain, analyze,
                                                               or decide legal concepts.

“It is well known in the     Foundation; Expert   Overruled.   As to the adequacy of
industry that many of the    Opinion; Hearsay                  foundation prior to this
projects with those                                            statement, the Court finds
executed PPAs, at a very                                       that proper foundation has
high percentage, failed                                        been laid as to Declarant’s

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with no power ever being                                        role in the subject
generated or sold.” (Id.).                                      transaction or industry
                                                                allowing this statement to
                                                                be admissible. As to
                                                                whether this statement
                                                                qualifies as an expert
                                                                opinion, this statement was
                                                                made by an employee
                                                                based on perceptions
                                                                during their course of
                                                                business. Since employee
                                                                had personal knowledge of
                                                                this industry, their
                                                                statement is helpful to clear
                                                                understanding of facts and
                                                                issues presented in case
                                                                and does not involve
                                                                specialized scientific or
                                                                technical knowledge. As to
                                                                whether this statement
                                                                constitutes inadmissible
                                                                hearsay, the Court finds
                                                                that this statement does not
                                                                encompass an out-of-court
                                                                statement and is not
                                                                offered to prove the truth
                                                                of the matter asserted.

“The EPC Price did not          Expert Opinion;    Sustained.   As to whether this qualifies
include any payout for the      Legal Conclusion                as a legal conclusion, the
PPA – either stated or                                          Court finds that this
implied.” (Id.).                                                statement purports to
                                                                explain, analyze, or decide
                                                                legal concepts which must
                                                                be determined by the Court
                                                                after consideration of all
                                                                facts and evidence.
                                                                Whether the EPC Price
                                                                included payout for the
                                                                PPA is a determination
                                                                reserved for the Court.

“ . . . Mr. Henderson’s use     Expert Opinion;    Overruled.   As to whether this
of the McCoy Solar project      Legal Conclusion                statement qualifies as an
. . . was not a valid market                                    expert opinion, this
reference . . .” (Id. at 27).                                   statement was made by an

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                                                                employee based on
                                                                perceptions during their
                                                                course of business. Since
                                                                employee had personal
                                                                knowledge of this industry,
                                                                their statement is helpful to
                                                                clear understanding of facts
                                                                and issues presented in
                                                                case and does not involve
                                                                specialized scientific or
                                                                technical knowledge. As to
                                                                whether this qualifies as a
                                                                legal conclusion, the Court
                                                                finds that this statement is
                                                                based on the declarant’s
                                                                opinion developed through
                                                                the regular course of
                                                                business and does not
                                                                purport to explain, analyze,
                                                                or decide legal concepts.

“There have been              Foundation; Expert   Overruled.   As to the adequacy of
numerous times, in my         Opinion                           foundation prior to this
experience, where the                                           statement, the Court finds
accountants’                                                    that proper foundation has
characterization of                                             been laid as to Declarant’s
transactions is different                                       role in the subject
than the realities of those                                     transaction or industry
transactions.” (Id. at 28).                                     allowing this statement to
                                                                be admissible. As to
                                                                whether this statement
                                                                qualifies as an expert
                                                                opinion, this statement was
                                                                made by an employee
                                                                based on perceptions
                                                                during their course of
                                                                business. Since employee
                                                                had personal knowledge of
                                                                this industry, their
                                                                statement is helpful to clear
                                                                understanding of facts and
                                                                issues presented in case
                                                                and does not involve
                                                                specialized scientific or
                                                                technical knowledge.



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“. . . typically there is a     Expert Opinion        Overruled.     As to whether this
range of EPC prices.” (Id.                                           statement qualifies as an
at 29).                                                              expert opinion, this
                                                                     statement was made by an
                                                                     employee based on
                                                                     perceptions during their
                                                                     course of business. Since
                                                                     employee had personal
                                                                     knowledge of this industry,
                                                                     their statement is helpful to
                                                                     clear understanding of facts
                                                                     and issues presented in
                                                                     case and does not involve
                                                                     specialized scientific or
                                                                     technical knowledge.

“Considering this               Legal Conclusion;     Sustained in   As to whether this
information, there is           Expert Opinion        part and       statement qualifies as an
independent confirmation                              overruled in   expert opinion, this
by qualified parties that the                         part.          statement was made by an
EPC Price was a market                                               employee based on
price for Silver State                                               perceptions during their
South. If the EPC Price for                                          course of business. Since
Silver State South was at                                            employee had personal
market for the EPC                                                   knowledge of this industry,
services First Solar was                                             their statement is helpful to
providing under the EPC                                              clear understanding of facts
Agreement, it is not clear                                           and issues presented in
to me how anyone could                                               case and does not involve
contend that NextEra was                                             specialized scientific or
paying for something else                                            technical knowledge. As to
under that agreement,                                                whether this qualifies as a
namely some amount for                                               legal conclusion, the Court
an “above market” PPA                                                finds that the first portion
that was acquired under a                                            of this statement is based
separate contract.” (Id. at                                          on the declarant’s opinion
30).                                                                 developed through the
                                                                     regular course of business
                                                                     and does not purport to
                                                                     explain, analyze, or decide
                                                                     legal concepts. However,
                                                                     the Court finds that the
                                                                     latter portion of the second
                                                                     sentence (“. . . namely
                                                                     some amount for an “above
                                                                     market” PPA that was

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                                                                         acquired under a separate
                                                                         contract.”) purports to
                                                                         explain, analyze, or decide
                                                                         legal concepts which must
                                                                         be determined by the Court
                                                                         after consideration of all
                                                                         facts and evidence. This
                                                                         ruling does not preclude
                                                                         objections made during the
                                                                         pendency of trial.

 “The Cash Grant               Expert Opinion;        Overruled.         As to whether this
 Agreement in no way           Legal Conclusion                          statement qualifies as an
 reflects a view by NextEra                                              expert opinion, this
 that any part of the EPC                                                statement was made by an
 Price was a payment for                                                 employee based on
 the PPA or any other                                                    perceptions during their
 intangible asset.” (Id. at                                              course of business. Since
 31).                                                                    employee had personal
                                                                         knowledge of this industry,
                                                                         their statement is helpful to
                                                                         clear understanding of facts
                                                                         and issues presented in
                                                                         case and does not involve
                                                                         specialized scientific or
                                                                         technical knowledge. As to
                                                                         whether this qualifies as a
                                                                         legal conclusion, the Court
                                                                         finds that this statement is
                                                                         based on the declarant’s
                                                                         opinion developed through
                                                                         the regular course of
                                                                         business and does not
                                                                         purport to explain, analyze,
                                                                         or decide legal concepts.

   7. Beth Deane

       Beth Deane is Chief Counsel, Project Development at First Solar and provided legal
support for development of the Silver State Solar project. (Pl.’s Resp. Summ. J., Ex. A at 122).

          Statement                Objection              Ruling                  Rationale
 “In other words, SSS could    Legal Conclusion       Overruled.         As to whether this qualifies
 not claim to have a firm                                                as a legal conclusion, the
 and contractually-                                                      Court finds that this
 recognized source of                                                    statement is based on the

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revenue until                                                  declarant’s opinion
[(Commercial Operation                                         developed through the
Date)] was achieved.” (Id.                                     regular course of business
at 124).                                                       and does not purport to
                                                               explain, analyze, or decide
                                                               legal concepts.

“Notwithstanding the          Legal Conclusion;   Sustained.   As to whether this qualifies
deadline for achieving        Expert Opinion                   as a legal conclusion, the
COD, the PPA required                                          Court finds that this
SSS to complete key                                            statement purports to
development and                                                explain, analyze, or decide
transmission-related                                           legal concepts which must
activities well in advance                                     be determined by the Court
of the COD deadline . . ..”                                    after consideration of all
(Id.).                                                         facts and evidence. This
                                                               statement ultimately
                                                               describes a document that
                                                               speaks for itself. Contract
                                                               interpretation is left to the
                                                               discretion of the Court.

“Notwithstanding the COD Legal Conclusion         Sustained.   As to whether this qualifies
deadline in the PPA, under                                     as a legal conclusion, the
Section 2.04(c)(v) of the                                      Court finds that this
PPA, SCE’s ‘Procurement                                        statement purports to
Group’ had the right to                                        explain, analyze, or decide
terminate the PPA if the SS                                    legal concepts which must
project was not energized                                      be determined by the Court
by December 31, 2016.”                                         after consideration of all
(Id.).                                                         facts and evidence. This
                                                               statement ultimately
                                                               describes a document that
                                                               speaks for itself. Contract
                                                               interpretation is left to the
                                                               discretion of the Court.

“The rights of SCE’s        Legal Conclusion      Sustained.   As to whether this qualifies
Procurement Group to                                           as a legal conclusion, the
terminate the PPA were not                                     Court finds that this
affected by the obligations                                    statement purports to
of SCE’s Transmission                                          explain, analyze, or decide
group to deliver                                               legal concepts which must
transmission upgrades . .                                      be determined by the Court
..” (Id.).                                                     after consideration of all
                                                               facts and evidence. This

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                                                              statement ultimately
                                                              describes a document that
                                                              speaks for itself. Contract
                                                              interpretation is left to the
                                                              discretion of the Court.
“. . . SCE’s Transmission   Expert Opinion;      Sustained.   As to whether this qualifies
Group was only required to Legal Conclusion                   as a legal conclusion, the
use ‘reasonable efforts’ to                                   Court finds that this
meet those deadlines; there                                   statement purports to
was no impact on SCE if                                       explain, analyze, or decide
the deadlines were missed                                     legal concepts which must
and no remedies for SSS if                                    be determined by the Court
SCE’s Transmission group                                      after consideration of all
failed to deliver the                                         facts and evidence. This
upgrades consistent with                                      statement ultimately
the estimated                                                 describes a document that
interconnection schedule.”                                    speaks for itself. Contract
(Id. at 125).                                                 interpretation is left to the
                                                              discretion of the Court.

“To be transformed into      Legal Conclusion;   Overruled.   As to whether this qualifies
actual revenue, various      Expert Opinion                   as a legal conclusion, the
risks that SSS did not                                        Court finds that this
control and that could have                                   statement is based on the
resulted in termination of                                    declarant’s opinion
the PPA, had to be                                            developed through the
eliminated. Only then                                         regular course of business
could SS become a revenue                                     and does not purport to
generating business.” (Id.).                                  explain, analyze, or decide
                                                              legal concepts. As to
                                                              whether this statement
                                                              qualifies as an expert
                                                              opinion, this statement was
                                                              made by an employee
                                                              based on perceptions
                                                              during their course of
                                                              business. Since employee
                                                              had personal knowledge of
                                                              this industry, their
                                                              statement is helpful to clear
                                                              understanding of facts and
                                                              issues presented in case
                                                              and does not involve
                                                              specialized scientific or
                                                              technical knowledge.


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“In addition to fundamental Legal Conclusion;     Sustained.     As to whether this qualifies
conditions, such as having Expert Opinion                        as a legal conclusion, the
transmission facilities built                                    Court finds that this
to allow the plant to be                                         statement purports to
energized, the PPA also                                          explain, analyze, or decide
required the following                                           legal concepts which must
conditions be met to                                             be determined by the Court
achieve COD . . ..” (Id. at                                      after consideration of all
126).                                                            facts and evidence. This
                                                                 statement ultimately
                                                                 describes a document that
                                                                 speaks for itself. Contract
                                                                 interpretation is left to the
                                                                 discretion of the Court.

“Beyond the requirements      Expert Opinion;     Sustained.     As to whether this qualifies
to achieve COD, the PPA       Foundation; Legal                  as a legal conclusion, the
imposed other conditions      Conclusion                         Court finds that this
on SSS before SSS could                                          statement purports to
become a revenue                                                 explain, analyze, or decide
generating business. Most                                        legal concepts which must
notably, to lawfully make a                                      be determined by the Court
sale of energy at the                                            after consideration of all
negotiated price set forth in                                    facts and evidence. This
the PPA, SSS had to obtain                                       statement ultimately
approval from the [FERC] .                                       describes a document that
. . Any failure by SSS to                                        speaks for itself. Contract
comply with this obligation                                      interpretation is left to the
was an event of default                                          discretion of the Court.
under Section 6.01(c)(vii)
of the PPA.” (Id.).

“In addition, there were      Legal Conclusion    Overruled in   As to whether this qualifies
other potential hurdles that                      part and       as a legal conclusion, the
had to be overcome before                         sustained in   Court finds that the first
SSS could become a                                part.          statement statement is
revenue generating                                               based on the declarant’s
business . . .. In other                                         opinion developed through
words, the business of                                           the regular course of
selling power under the                                          business and does not
SCE PPA did not become                                           purport to explain, analyze,
viable for SSS until it                                          or decide legal concepts.
obtained FERC’s approval                                         However, the Court finds
to sell power at ‘market-                                        that the second statement
based’ rates, as reflected by                                    (“In other words, the
the negotiated PPA rate.”                                        business of selling power

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(Id. at 127).                                                 under the SCE PPA did not
                                                              become viable for SSS
                                                              until it obtained FERC’s
                                                              approval to sell power at
                                                              ‘market-based’ rates, as
                                                              reflected by the negotiated
                                                              PPA rate.”) purports to
                                                              explain, analyze, or decide
                                                              legal concepts which must
                                                              be determined by the Court
                                                              after consideration of all
                                                              facts and evidence.

“Finally, with respect to     Expert Opinion;    Overruled.   As to whether this
evaluating the value of the   Legal Conclusion                statement qualifies as an
PPA, it is important to                                       expert opinion, this
understand that PPAs are                                      statement was made by an
typically specific to the                                     employee based on
project site and electric                                     perceptions during their
generating facility                                           course of business. Since
described in detail in the                                    employee had personal
PPA.” (Id. at 128).                                           knowledge of this industry,
                                                              their statement is helpful to
                                                              clear understanding of facts
                                                              and issues presented in
                                                              case and does not involve
                                                              specialized scientific or
                                                              technical knowledge. As to
                                                              whether this qualifies as a
                                                              legal conclusion, the Court
                                                              finds that this statement is
                                                              based on the declarant’s
                                                              opinion developed through
                                                              the regular course of
                                                              business and does not
                                                              purport to explain, analyze,
                                                              or decide legal concepts.

“That meant that the SSS      Expert Opinion;    Sustained.   As to whether this qualifies
PPA, like other SCE PPAs      Legal Conclusion                as a legal conclusion, the
could not be transferred to                                   Court finds that this
another site or project or                                    statement purports to
sold to an entity that did                                    explain, analyze, or decide
not control the SSS site or                                   legal concepts which must
project . . .. [T]he PPA                                      be determined by the Court
would be have been                                            after consideration of all

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 worthless.” (Id.).                                                    facts and evidence. This
                                                                       statement ultimately
                                                                       describes a document that
                                                                       speaks for itself. Contract
                                                                       interpretation is left to the
                                                                       discretion of the Court.

 “Moreover, First Solar         Expert Opinion;        Overruled.      As to whether this
 tested the provision in a      Foundation                             statement qualifies as an
 typical SCE PPA that                                                  expert opinion, this
 restricts sellers from                                                statement was made by an
 changing sites. In                                                    employee based on
 particular, First Solar had a                                         perceptions during their
 favorable PPA for a site                                              course of business. Since
 located on land to be leased                                          employee had personal
 from a tribe in the                                                   knowledge of this industry,
 Southwestern United                                                   their statement is helpful to
 States. It turned out that the                                        clear understanding of facts
 land was not suitable for                                             and issues presented in
 construction of the project,                                          case and does not involve
 due to hydrology and other                                            specialized scientific or
 issues. In an effort to                                               technical knowledge. As to
 preserve the PPA, First                                               the adequacy of foundation
 Solar tried to move the                                               prior to this statement, the
 project to an adjacent area                                           Court finds that proper
 within the tribe's                                                    foundation has been laid as
 reservation, but was not                                              to Declarant’s role in the
 successful in convincing                                              subject transaction or
 SCE to change the site.                                               industry allowing this
 First Solar allowed the                                               statement to be admissible.
 PPA to be terminated
 because the site could not
 be changed to make the
 project viable.” (Id.).

   8. Steven Robertson

       Steven Robertson was employed at First Solar, having previously served as Tax Manager,
Tax Director, and interim head of tax in the tax department before becoming Vice President,
Tax. (Pl.’s Resp. Summ. J., Ex. C at 1). During Robertson’s tenure, Robertson’s responsibilities
included aspects of tax compliance and tax accounting. (Id.).

          Statement               Objection                Ruling              Rationale
 “Parties responding to the   Hearsay; Legal           Overruled.      As to whether this
 Section 1603 grant           Conclusion                               statement constitutes
 program were uncertain                                                inadmissible hearsay, the

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regarding the IRS’s and                                            Court finds that this
Treasury’s intentions of the                                       statement does not
tax treatment of PPAs.”                                            encompass an out-of-court
(Id. at 4).                                                        statement and is not
                                                                   offered to prove the truth
                                                                   of the matter asserted. As
                                                                   to whether this qualifies as
                                                                   a legal conclusion, the
                                                                   Court finds that this
                                                                   statement is based on the
                                                                   declarant’s opinion
                                                                   developed through the
                                                                   regular course of business
                                                                   and does not purport to
                                                                   explain, analyze, or decide
                                                                   legal concepts.

“I did not view the            Expert Opinion         Overruled.   As to whether this
proposed Silver State                                              statement qualifies as an
South transactions to                                              expert opinion, this
involve the same fact                                              statement was made by an
pattern as the projects that                                       employee based on
had prompted NextEra’s                                             perceptions during their
concerns.” (Id.).                                                  course of business. Since
                                                                   employee had personal
                                                                   knowledge of this industry,
                                                                   their statement is helpful to
                                                                   clear understanding of facts
                                                                   and issues presented in
                                                                   case and does not involve
                                                                   specialized scientific or
                                                                   technical knowledge.

“First Solar was compelled     Expert Opinion;        Overruled.   As to whether this
by Treasury to follow this     Hearsay                             statement qualifies as an
approach because of the                                            expert opinion, this
positions Treasury was                                             statement was made by an
taking in this time period –                                       employee based on
whether First Solar agreed                                         perceptions during their
with those positions or not.                                       course of business. Since
Although First Solar was                                           employee had personal
disappointed with this                                             knowledge of this industry,
result, I believe that First                                       their statement is helpful to
Solar had done exactly                                             clear understanding of facts
what we were                                                       and issues presented in
recommended to do by Ms.                                           case and does not involve

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Neubauer.” (Id. at 6).                                         specialized scientific or
                                                               technical knowledge. As to
                                                               whether this statement
                                                               constitutes inadmissible
                                                               hearsay, the Court finds
                                                               that this statement does not
                                                               encompass an out-of-court
                                                               statement and is not
                                                               offered to prove the truth
                                                               of the matter asserted.

“As my March 21, 2014          Expert Opinion;    Overruled.   As to whether this
report to Mr. Widmar . . .     Legal Conclusion                statement qualifies as an
indicates, KPMG’s                                              expert opinion, this
conclusion regarding the                                       statement was made by an
expected cost basis to                                         employee based on
calculate the Section 1603                                     perceptions during their
grant for Silver State South                                   course of business. Since
came within the guidelines                                     employee had personal
that other tax practitioners                                   knowledge of this industry,
were seeing approved by                                        their statement is helpful to
the Treasury.” (Id.).                                          clear understanding of facts
                                                               and issues presented in
                                                               case and does not involve
                                                               specialized scientific or
                                                               technical knowledge. As to
                                                               whether this qualifies as a
                                                               legal conclusion, the Court
                                                               finds that this statement is
                                                               based on the declarant’s
                                                               opinion developed through
                                                               the regular course of
                                                               business and does not
                                                               purport to explain, analyze,
                                                               or decide legal concepts.

“To my knowledge, no one       Foundation         Overruled.   As to the adequacy of
at First Solar ever took the                                   foundation prior to this
position or came to the                                        statement, the Court finds
conclusion that the Silver                                     that proper foundation has
State South PPA                                                been laid as to Declarant’s
represented a separate                                         role in the subject
intangible asset as a matter                                   transaction or industry
of tax law.” (Id. at 6–7).                                     allowing this statement to
                                                               be admissible.


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“It was my understanding,       Legal Conclusion    Overruled.   As to whether this qualifies
the PPA was a market PPA                                         as a legal conclusion, the
when it was executed, and                                        Court finds that this
the pricing under the PPA                                        statement is based on the
was fixed. . . I did not                                         declarant’s opinion
agree with the suggestion                                        developed through the
that lowering construction                                       regular course of business
costs equates with                                               and does not purport to
intangible asset value                                           explain, analyze, or decide
attributable to a fixed-price                                    legal concepts.
PPA.” (Id. at 7).

“During my time at First        Legal Conclusion;   Sustained.   As to whether this qualifies
Solar, its position, in         Expert Opinion                   as a legal conclusion, the
general, was that Internal                                       Court finds that this
Revenue Code Section                                             statement purports to
1060 did not apply to the                                        explain, analyze, or decide
sale by First Solar of                                           legal concepts which must
projects such as Silver                                          be determined by the Court
State South that had not                                         after consideration of all
started construction.                                            facts and evidence. The
Section 1060 applies only                                        application of IRC 1060
to an “applicable asset                                          and applicable asset
acquisition,” which is                                           acquisition must be
defined as an acquisition of                                     determined by the Court.
a group of assets that
constitutes a trade or
business. A project like
Silver State South that has
not started construction is
not a trade or business.”
(Id.).

“I understand from           Foundation;            Overruled.   As to the adequacy of
Plaintiff's counsel that the Hearsay; Legal                      foundation prior to this
Defendant continues to rely Conclusion                           statement, the Court finds
upon certain statements in                                       that proper foundation has
the KPMG report as                                               been laid as to Declarant’s
evidence that First Solar                                        role in the subject
determined Section 1060                                          transaction or industry
applies to the Silver State                                      allowing this statement to
South transactions with                                          be admissible. As to
NextEra.” (Id.).                                                 whether this statement
                                                                 constitutes inadmissible
                                                                 hearsay, the Court finds
                                                                 that this statement does not

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                                                            encompass an out-of-court
                                                            statement and is not
                                                            offered to prove the truth
                                                            of the matter asserted. As
                                                            to whether this qualifies as
                                                            a legal conclusion, the
                                                            Court finds that this
                                                            statement is based on the
                                                            declarant’s opinion
                                                            developed through the
                                                            regular course of business
                                                            and does not purport to
                                                            explain, analyze, or decide
                                                            legal concepts.

“From my perspective I       Expert Opinion;   Overruled.   As to whether this
wasn’t engaging KPMG to Legal Conclusion                    statement qualifies as an
prepare a Section 1060                                      expert opinion, this
analysis. Ms. Neubauer                                      statement was made by an
never mentioned Section                                     employee based on
1060 in her correspondence                                  perceptions during their
with Mr. Nelson, and my                                     course of business. Since
view and Mr. Nelson’s                                       employee had personal
view was very clear that                                    knowledge of this industry,
Section 1060 could not                                      their statement is helpful to
apply to the Silver State                                   clear understanding of facts
South transaction or similar                                and issues presented in
transactions.” (Id. at 8).                                  case and does not involve
                                                            specialized scientific or
                                                            technical knowledge. As to
                                                            whether this qualifies as a
                                                            legal conclusion, the Court
                                                            finds that this statement is
                                                            based on the declarant’s
                                                            opinion developed through
                                                            the regular course of
                                                            business and does not
                                                            purport to explain, analyze,
                                                            or decide legal concepts.
                                                            Based on the
                                                            inapplicability of the
                                                            specific objections, the
                                                            statement is admissible.
                                                            This ruling does not
                                                            preclude objections made
                                                            during the pendency of

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                                                                  trial.

“As I discussed in my          Hearsay; Legal        Overruled.   As to whether this
deposition, I advised          Conclusion                         statement constitutes
KPMG upfront that I did                                           inadmissible hearsay, the
not believe Section 1060                                          Court finds that this
applied because Silver                                            statement does not
State South did not involve                                       encompass an out-of-court
the sale of a trade or                                            statement and is not
business.” (Id.).                                                 offered to prove the truth
                                                                  of the matter asserted. As
                                                                  to whether this qualifies as
                                                                  a legal conclusion, the
                                                                  Court finds that this
                                                                  statement is based on the
                                                                  declarant’s opinion
                                                                  developed through the
                                                                  regular course of business
                                                                  and does not purport to
                                                                  explain, analyze, or decide
                                                                  legal concepts. Based on
                                                                  the inapplicability of the
                                                                  specific objections, the
                                                                  statement is admissible.
                                                                  This ruling does not
                                                                  preclude objections made
                                                                  during the pendency of
                                                                  trial.

“Among other things, I         Expert Opinion;       Overruled.   As to whether this
noted that IRC Section         Legal Conclusion                   statement qualifies as an
1060 did not apply to the                                         expert opinion, this
sale of the Silver State                                          statement was made by an
South project to NextEra . .                                      employee based on
..” (Id.).                                                        perceptions during their
                                                                  course of business. Since
                                                                  employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge. As to
                                                                  whether this qualifies as a
                                                                  legal conclusion, the Court

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                                                                     finds that this statement is
                                                                     based on the declarant’s
                                                                     opinion developed through
                                                                     the regular course of
                                                                     business and does not
                                                                     purport to explain, analyze,
                                                                     or decide legal concepts.

      9. Michael O’Sullivan

       Michael O’Sullivan recently retired from NextEra after having been Senior Vice
President of Development. (Pl.’s Resp. Summ. J., Ex. B at 151).

             Statement                 Objection            Ruling             Rationale
    “Question: What did            Foundation; Expert   Overruled.   As to the adequacy of
    Energy Resources pay for       Opinion                           foundation prior to this
    the Silver State South                                           statement, the Court finds
    project company and the                                          that proper foundation has
    project assets held by the                                       been laid as to Declarant’s
    project company?                                                 role in the subject
                                                                     transaction or industry
    Answer: Energy                                                   allowing this statement to
    Resources 3 paid                                                 be admissible. As to
    approximately $92 million.                                       whether this statement
    This payment represented                                         qualifies as an expert
    an amount roughly equal to                                       opinion, this statement was
    costs and expenses                                               made by an employee
    previously paid by First                                         based on perceptions
    Solar to develop the project                                     during their course of
    through the closing date.”                                       business. Since employee
    (Id. at 153).                                                    had personal knowledge of
                                                                     this industry, their
                                                                     statement is helpful to clear
                                                                     understanding of facts and
                                                                     issues presented in case
                                                                     and does not involve
                                                                     specialized scientific or
                                                                     technical knowledge.

    “Question: When Energy         Expert Opinion;      Overruled.   As to whether this
    Resources acquired Silver      Legal Conclusion                  statement qualifies as an
    State South, was the                                             expert opinion, this


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 This particular declarant refers to NextEra Energy Resources, LLC as “Energy Resources.” The
Court will continue to refer to this company and its subsidiaries collectively as “NextEra.”
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project company engaged                                       statement was made by an
in any business activities?                                   employee based on
                                                              perceptions during their
Answer: No. The project                                       course of business. Since
company was not engaged                                       employee had personal
in any business activities.                                   knowledge of this industry,
Any activity by the project                                   their statement is helpful to
company at this stage was                                     clear understanding of facts
pre-business, early                                           and issues presented in
development activity.” (Id.                                   case and does not involve
at 153–54).                                                   specialized scientific or
                                                              technical knowledge. As to
                                                              whether this qualifies as a
                                                              legal conclusion, the Court
                                                              finds that this statement is
                                                              based on the declarant’s
                                                              opinion developed through
                                                              the regular course of
                                                              business and does not
                                                              purport to explain, analyze,
                                                              or decide legal concepts.

“When the project             Expert Opinion;    Overruled.   As to whether this
company was acquired, it      Legal Conclusion                statement qualifies as an
was years away from                                           expert opinion, this
engaging in any active                                        statement was made by an
business.” (Id. at 154).                                      employee based on
                                                              perceptions during their
                                                              course of business. Since
                                                              employee had personal
                                                              knowledge of this industry,
                                                              their statement is helpful to
                                                              clear understanding of facts
                                                              and issues presented in
                                                              case and does not involve
                                                              specialized scientific or
                                                              technical knowledge. As to
                                                              whether this qualifies as a
                                                              legal conclusion, the Court
                                                              finds that this statement is
                                                              based on the declarant’s
                                                              opinion developed through
                                                              the regular course of
                                                              business and does not
                                                              purport to explain, analyze,
                                                              or decide legal concepts.

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“Question: Is there a         Expert Opinion        Overruled.   As to whether this
market for PPAs?                                                 statement qualifies as an
                                                                 expert opinion, this
Answer: No. There is no                                          statement was made by an
market for PPAs as                                               employee based on
standalone                                                       perceptions during their
documents/assets.” (Id.).                                        course of business. Since
                                                                 employee had personal
                                                                 knowledge of this industry,
                                                                 their statement is helpful to
                                                                 clear understanding of facts
                                                                 and issues presented in
                                                                 case and does not involve
                                                                 specialized scientific or
                                                                 technical knowledge.

“Question: Did Energy         Foundation; Legal     Overruled.   As to the adequacy of
Resources view the SCE        Conclusion; Expert                 foundation prior to this
PPA for Silver State South    Opinion                            statement, the Court finds
as an ‘above-market PPA’?                                        that proper foundation has
                                                                 been laid as to Declarant’s
Answer: No. The PPA was                                          role in the subject
competitively bid at the                                         transaction or industry
time and was the subject of                                      allowing this statement to
a bilateral negotiation                                          be admissible. As to
between First Solar’s                                            whether this qualifies as a
predecessor and SCE.                                             legal conclusion, the Court
After signing the PPA,                                           finds that this statement is
SCE presented the PPA for                                        based on the declarant’s
approval to the California                                       opinion developed through
Public Utilities                                                 the regular course of
Commission (“CPUC”).                                             business and does not
The CPUC’s approval was                                          purport to explain, analyze,
required before SCE could                                        or decide legal concepts.
recover its costs from                                           As to whether this
ratepayers. The CPUC                                             statement qualifies as an
approved the PPA,                                                expert opinion, this
establishing that the PPA                                        statement was made by an
was not “above market.”                                          employee based on
(Id.).                                                           perceptions during their
                                                                 course of business. Since
                                                                 employee had personal
                                                                 knowledge of this industry,
                                                                 their statement is helpful to
                                                                 clear understanding of facts

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                                                                and issues presented in
                                                                case and does not involve
                                                                specialized scientific or
                                                                technical knowledge.

“Question: Did Energy        Expert Opinion        Overruled.   As to whether this
Resources pay a premium                                         statement qualifies as an
on account of the PPA (i.e.,                                    expert opinion, this
a premium above the cost                                        statement was made by an
of negotiating the PPA)?                                        employee based on
                                                                perceptions during their
Answer: No.” (Id.).                                             course of business. Since
                                                                employee had personal
                                                                knowledge of this industry,
                                                                their statement is helpful to
                                                                clear understanding of facts
                                                                and issues presented in
                                                                case and does not involve
                                                                specialized scientific or
                                                                technical knowledge.

“Question: Did Energy       Expert Opinion;        Overruled.   As to whether this
Resources agree to pay any Legal Conclusion                     statement qualifies as an
portion of the fixed price                                      expert opinion, this
under the EPC contract as a                                     statement was made by an
premium for the PPA or                                          employee based on
any of the development                                          perceptions during their
assets held by the project                                      course of business. Since
company?                                                        employee had personal
                                                                knowledge of this industry,
Answer: No.” (Id. at 154–                                       their statement is helpful to
155).                                                           clear understanding of facts
                                                                and issues presented in
                                                                case and does not involve
                                                                specialized scientific or
                                                                technical knowledge. As to
                                                                whether this qualifies as a
                                                                legal conclusion, the Court
                                                                finds that this statement is
                                                                based on the declarant’s
                                                                opinion developed through
                                                                the regular course of
                                                                business and does not
                                                                purport to explain, analyze,
                                                                or decide legal concepts.


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 “Question: Are PPAs           Expert Opinion        Overruled.        As to whether this
 comparable?                                                           statement qualifies as an
                                                                       expert opinion, this
 Answer: No.” (Id. at 155).                                            statement was made by an
                                                                       employee based on
                                                                       perceptions during their
                                                                       course of business. Since
                                                                       employee had personal
                                                                       knowledge of this industry,
                                                                       their statement is helpful to
                                                                       clear understanding of facts
                                                                       and issues presented in
                                                                       case and does not involve
                                                                       specialized scientific or
                                                                       technical knowledge.

   10. Daniel Nelson

       Daniel Nelson was formerly Vice President, Tax and Trade, at First Solar, serving as the
global head of tax and managing the company’s tax department. (Pl.’s Resp. Summ. J., Ex. B at
116).

          Statement                Objection             Ruling                 Rationale
 “Section 1603 grants were     Legal Conclusion      Sustained.        As to whether this qualifies
 provided in lieu of tax                                               as a legal conclusion, the
 credits and was to follow                                             Court finds that this
 the United States federal                                             statement purports to
 income tax rules – in                                                 explain, analyze, or decide
 particular, the rules                                                 legal concepts which must
 applicable to the                                                     be determined by the Court
 investment tax credit                                                 after consideration of all
 ([ITC]).” (Id. at 118).                                               facts and evidence. The
                                                                       application of Section 1603
                                                                       and similar tax rules are
                                                                       reserved for determination
                                                                       by the Court.

 “The ITC and tax basis        Expert Opinion;       Overruled in      As to whether this
 rules were well-settled and   Legal Conclusion;     part and          statement qualifies as an
 understood by tax             Foundation            sustained in      expert opinion, this
 practitioners and industry                          part.             statement was made by an
 participants. The                                                     employee based on
 administrators of the                                                 perceptions during their
 Section 1603 program at                                               course of business. Since
 Treasury, on the other                                                employee had personal
 hand, did not have tax                                                knowledge of this industry,

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expertise and, to my                                              their statement is helpful to
knowledge, did not utilize                                        clear understanding of facts
the IRS’s tax expertise.                                          and issues presented in
Treasury, instead, relied on                                      case and does not involve
advisers with little if any                                       specialized scientific or
background in relevant tax                                        technical knowledge. As to
matters.” (Id. at 119).                                           whether this qualifies as a
                                                                  legal conclusion, the Court
                                                                  finds that this statement is
                                                                  based on the declarant’s
                                                                  opinion developed through
                                                                  the regular course of
                                                                  business and does not
                                                                  purport to explain, analyze,
                                                                  or decide legal concepts.
                                                                  As to the adequacy of
                                                                  foundation prior to this
                                                                  statement, the Court finds
                                                                  that proper foundation has
                                                                  been laid as to Declarant’s
                                                                  role in the subject
                                                                  transaction or industry
                                                                  allowing the first sentence
                                                                  of this statement to be
                                                                  admissible. However, as to
                                                                  the second sentence (“The
                                                                  administrators of the
                                                                  Section 1603 program at
                                                                  Treasury, on the other
                                                                  hand, did not have tax
                                                                  expertise and, to my
                                                                  knowledge, did not utilize
                                                                  the IRS’s tax expertise.
                                                                  Treasury, instead, relied on
                                                                  advisers with little if any
                                                                  background in relevant tax
                                                                  matters.”), the Court finds
                                                                  that an adequate foundation
                                                                  has not been laid allowing
                                                                  this statement to be
                                                                  admissible.

“During my time at First       Expert Opinion        Overruled.   As to whether this
Solar, there were a number                                        statement qualifies as an
of areas where Treasury                                           expert opinion, this
diverged from these well                                          statement was made by an

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settled and understood ITC                                 employee based on
and tax basis rules and                                    perceptions during their
developed their own                                        course of business. Since
internal views.” (Id.).                                    employee had personal
                                                           knowledge of this industry,
                                                           their statement is helpful to
                                                           clear understanding of facts
                                                           and issues presented in
                                                           case and does not involve
                                                           specialized scientific or
                                                           technical knowledge.

“One of the principal areas Expert Opinion;   Overruled.   As to whether this
of divergence between the Legal Conclusion;                statement qualifies as an
Treasury administrators, on Foundation                     expert opinion, this
the one hand, and the IRS                                  statement was made by an
and industry participants,                                 employee based on
on the other hand, involved                                perceptions during their
the identification of                                      course of business. Since
intangible assets for United                               employee had personal
States federal income tax                                  knowledge of this industry,
purposes and, specifically,                                their statement is helpful to
whether a PPA was a                                        clear understanding of facts
separate intangible asset                                  and issues presented in
that was not eligible for the                              case and does not involve
Section 1603 grant.” (Id.).                                specialized scientific or
                                                           technical knowledge. As to
                                                           whether this qualifies as a
                                                           legal conclusion, the Court
                                                           finds that this statement is
                                                           based on the declarant’s
                                                           opinion developed through
                                                           the regular course of
                                                           business and does not
                                                           purport to explain, analyze,
                                                           or decide legal concepts.
                                                           As to the adequacy of
                                                           foundation prior to this
                                                           statement, the Court finds
                                                           that proper foundation has
                                                           been laid as to Declarant’s
                                                           role in the subject
                                                           transaction or industry
                                                           allowing this statement to
                                                           be admissible.



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“Priv. Ltr. Rul. 201214007      Expert Opinion;     Sustained.    As to whether this qualifies
was not remarkable to me        Legal Conclusion;                 as a legal conclusion, the
because it merely               Foundation;                       Court finds that this
confirmed what tax              Hearsay                           statement purports to
practitioners already                                             explain, analyze, or decide
understood based on well                                          legal concepts which must
settled and understood tax                                        be determined by the Court
principles, namely that                                           after consideration of all
location-specific real estate                                     facts and evidence. Tax
leases are not stand-alone                                        principles and rulings
intangibles but represent                                         surrounding them are
the value of the underlying                                       within the purview of the
real estate being leased.”                                        Court’s interpretation.
(Id. at 120).

“Later in 2012, the IRS         Foundation; Expert Overruled in   As to the adequacy of
published a second ruling       Testimony; Hearsay part and       foundation prior to this
(201249013) withdrawing                            sustained in   statement, the Court finds
Priv. Ltr. Rul. 201214007,                         part.          that proper foundation has
apparently at Treasury's                                          been laid as to Declarant’s
insistence . . .. This                                            role in the subject
approach created                                                  transaction or industry
uncertainty in the industry                                       allowing the first part
at a time when participants                                       statement to be admissible.
were making substantial                                           As to whether the first part
investments under the                                             of the statement qualifies
Section 1603 mandate.”                                            as an expert opinion, this
(Id. at 120).                                                     statement was made by an
                                                                  employee based on
                                                                  perceptions during their
                                                                  course of business. Since
                                                                  employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge. As to
                                                                  whether the latter portion
                                                                  of the statement (“. .
                                                                  .apparently at Treasury's
                                                                  insistence . . .. This
                                                                  approach created
                                                                  uncertainty in the industry
                                                                  at a time when participants

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                                                                 were making substantial
                                                                 investments under the
                                                                 Section 1603 mandate.”)
                                                                 qualifies as an expert
                                                                 opinion, this statement
                                                                 involves specialized
                                                                 scientific or technical
                                                                 knowledge which must be
                                                                 testified to by an expert
                                                                 witness. As to whether
                                                                 either part of the statement
                                                                 constitutes inadmissible
                                                                 hearsay, the Court finds
                                                                 that this statement does not
                                                                 encompass an out-of-court
                                                                 statement and is not
                                                                 offered to prove the truth
                                                                 of the matter asserted.

Throughout this period, I       Legal Conclusion;   Sustained.   As to whether this qualifies
was of the firm view that a     Expert Opinion                   as a legal conclusion, the
plant-specific PPA should                                        Court finds that this
not be treated as a separate                                     statement purports to
intangible from the                                              explain, analyze, or decide
associated power plant.                                          legal concepts which must
The relationship between a                                       be determined by the Court
power plant and a plant-                                         after consideration of all
specific PPA can be                                              facts and evidence. Tax
analogized to the                                                principles and
acquisition of property                                          implementation of the IRC
(e.g., a building) subject to                                    are within the purview of
a lease. The tax code,                                           the Court’s interpretation.
Internal Revenue Code
(“IRC”) Section 167(c)(2),
provides that if property is
acquired subject to a lease
no portion of the cost is
allocated to the leasehold
interest. Instead, the entire
cost is taken into account
in determining the cost
basis and depreciation
deduction with respect to
the property subject to
lease. This IRC provision
was enacted consistent

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with decades of court
precedent, including a
decision of the United
States Supreme Court.
These cases effectively
hold that the income
generating ability of an
asset, such as real estate, is
an inherent attribute of the
tangible asset, not a
separate intangible. This
was not only my view; the
IRS relied upon Section
167(c)(2) in Priv. Ltr. Rul.
201214007. This also was
consistent with how leases
and PPAs were treated,
generally, for United States
federal income tax
purposes and, specifically,
for ITC and depreciation
purposes. (Id. at 120–121).

“I also formed a view on         Expert Opinion;    Sustained.   As to whether this qualifies
whether a facility-specific      Legal Conclusion                as a legal conclusion, the
PPA is a ‘customer-based                                         Court finds that this
intangible’ under IRC                                            statement purports to
Section 197 while it                                             explain, analyze, or decide
remains a mere executory                                         legal concepts which must
contract . . .. There are two                                    be determined by the Court
reasons why a facility-                                          after consideration of all
specific may not meet this                                       facts and evidence. Tax
definition . . ..” (Id. at 121).                                 principles and
                                                                 implementation of the IRC
                                                                 are within the purview of
                                                                 the Court’s interpretation.

“This position was not only Expert Opinion;         Sustained.   As to whether this qualifies
consistent with the existing Legal Conclusion                    as a legal conclusion, the
guidance from the IRS . . .                                      Court finds that this
it was consistent with my                                        statement purports to
understanding . . .. I                                           explain, analyze, or decide
continue to believe this is                                      legal concepts which must
the correct tax treatment of                                     be determined by the Court
the PPA.” (Id. at 122).                                          after consideration of all
                                                                 facts and evidence. Tax

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                                                                   principles and treatment of
                                                                   the PPA are within the
                                                                   purview of the Court’s
                                                                   interpretation.

“I repeat several of my       Prior Consistent        Overruled.   As to whether this is
comments to the KPMG          Statement                            objectionable as a “prior
report here which are                                              consistent statement,” the
relevant to the issues                                             Court finds that the
addressed in the                                                   objection is improper for
Defendant's summary                                                purposes of summary
judgment filing:                                                   judgment and must be
2. Page 1 - they refer to                                          overruled.
Section 1060. I think they
should footnote that this is
not a 1060 transaction but
that 1060 is referenced in
the report for purposes of
defining FMV for tax
purposes.
***
4. Page 2 - PPA - The
description of the PPA
should clearly address
whether it's location-
specific, and whether there
are purchase options. As
we know, location-specific
PPA's mean that PPA is of
nominal value until such
time as the required facility
is completed.
***
6. Page 2/3 - The bullets
should include reference to
the fact that the PPA is
facility-specific, and
should ideally suggest that,
accordingly, any "value" of
the PPA is an inherent
value of the Facility.
Economic reference should
ideally be made to leases
and real estate, where the
value of real estate is a
function of the price of

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underlying leases.
My comments (# 4 and #
6) are consistent with my
perspective and research as
discussed above. I discuss
the application of IRC
Section 1060 in the
separate section below.”
(Id. at 124–25).

“IRC Section 1060 is the           Legal Conclusion;   Sustained.   As to whether this qualifies
tax code section that              Expert Opinion                   as a legal conclusion, the
addresses the allocation of                                         Court finds that this
purchase price in the case                                          statement purports to
of the acquisition or sale of                                       explain, analyze, or decide
a going concern or active                                           legal concepts which must
trade or business . . .. [i]t is                                    be determined by the Court
well known to most tax                                              after consideration of all
practitioners.” (Id. at 125).                                       facts and evidence. Tax
                                                                    regulations are within the
                                                                    purview of the Court’s
                                                                    interpretation.

“As I explained in my        Prior Consistent          Overruled.   As to whether this is
deposition in the Desert     Statement; Expert                      objectionable as a “prior
Sunlight matter, I was very Opinion                                 consistent statement,” the
firm on the application of                                          Court finds that the
IRC Section 1060. On                                                objection is improper for
occasion, a seller or buyer                                         purposes of summary
would propose to add a                                              judgment and must be
provision to the agreements                                         overruled. As to whether
to the effect that IRC                                              this statement qualifies as
Section 1060 applied, as                                            an expert opinion, this
they liked the optical value                                        statement was made by an
of having an agreed-upon                                            employee based on
seller-buyer valuation. I                                           perceptions during their
philosophically disagreed                                           course of business. Since
that IRC Section 1060                                               employee had personal
applied or could apply in                                           knowledge of this industry,
circumstances where First                                           their statement is helpful to
Solar was selling an                                                clear understanding of facts
unconstructed project. For                                          and issues presented in
that reason, I (or my team                                          case and does not involve
members at First Solar)                                             specialized scientific or
would strike provisions in                                          technical knowledge.
draft agreements, in those

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circumstances, that
referenced IRC Section
1060. My recollection is
that counterparties would
almost always agree to
drop the reference, as they
well understood that
Section 1060 was not
applicable to these
transactions. That said,
they seemed to like the
Section 1060 allocation in
Agreements as they liked
the optics that "agreed
upon" buyer seller
allocations have upon IRS
audit.” (Id. at 126).

“This treatment of IRC       Expert Opinion;    Overruled in   As to whether this
Section 1060 was             Legal Conclusion   part and       statement qualifies as an
particularly true of Silver                     sustained in   expert opinion, this
State South, where                              part.          statement was made by an
construction had not even                                      employee based on
started when it was sold to                                    perceptions during their
NextEra. There was not                                         course of business. Since
and could not be an active                                     employee had personal
trade or business at this                                      knowledge of this industry,
point in time. There was no                                    their statement is helpful to
power plant or any means                                       clear understanding of facts
to generate electricity and                                    and issues presented in
revenue. With the                                              case and does not involve
exception of the KPMG                                          specialized scientific or
report discussed above, I                                      technical knowledge. As to
do not recall any                                              whether this qualifies as a
discussion between First                                       legal conclusion, the Court
Solar and NextEra                                              finds that, with one
regarding the application of                                   exception, this statement is
IRC Section 1060 to Silver                                     based on the declarant’s
State South. We did not                                        opinion developed through
view that provision as                                         the regular course of
applicable.” (Id. at 126).                                     business and does not
                                                               purport to explain, analyze,
                                                               or decide legal concepts.
                                                               However, the Court also
                                                               finds that the portion
                                                               stating, “[t]here was not

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                                                                 and could not be an active
                                                                 trade or business at this
                                                                 point in time,” purports to
                                                                 explain, analyze, or decide
                                                                 legal concepts which must
                                                                 be determined by the Court
                                                                 after consideration of all
                                                                 facts and evidence. As
                                                                 such, that portion of the
                                                                 statement will not be
                                                                 considered by the Court.

“With respect to the           Foundation; Expert   Overruled.   As to the adequacy of
KPMG report, my                Opinion; Relevance                foundation prior to this
September 22, 2013                                               statement, the Court finds
comments with respect to                                         that proper foundation has
KPMG’s report speak for                                          been laid as to Declarant’s
themselves. I stated                                             role in the subject
specifically that “this is not                                   transaction or industry
a 1060 transaction”. It is                                       allowing this statement to
consistent with First                                            be admissible. As to
Solar’s general position                                         whether this statement
with respect to IRC Section                                      qualifies as an expert
1060, in this same time                                          opinion, this statement was
period. I understood that                                        made by an employee
KPMG was not reaching                                            based on perceptions
any conclusions in its                                           during their course of
report regarding the                                             business. Since employee
application of IRC Section                                       had personal knowledge of
1060. Rather, they were                                          this industry, their
referencing IRC Section                                          statement is helpful to clear
1060 “for purposes of                                            understanding of facts and
defining FMV for tax                                             issues presented in case
purposes.” If KPMG had a                                         and does not involve
different view, I do not                                         specialized scientific or
believe that view was ever                                       technical knowledge. As to
conveyed to First Solar. I                                       whether the statement is
can state unequivocally                                          relevant, the Court finds
that I did not make a                                            that the statement is of
determination that IRC                                           probative value and tends
Section 1060 applied to the                                      to make a proposition of
Silver State South                                               legal consequence more or
transactions. I also do not                                      less probable.
believe that Mr. Robertson
or anyone else at First
Solar made such a

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 determination.” (Id. at
 126–27).

 “I do not think that           Foundation; Expert    Sustained.      The Court finds that an
 Treasury was relying upon      Opinion; Relevance                    adequate foundation has
 IRC Section 1060 to                                                  not been laid allowing this
 reallocate tax basis to                                              statement to be admissible.
 PPAs in this time period . .
 ..” (Id. at 127).

   11. Kenneth Stein

        Kenneth Stein has been a Manager of Environmental Permitting at NextEra since 2009.
(Pl.’s Resp. Summ. J., Ex. D at 1). In that role, Stein oversees environmental permitting for
various energy development projects, including the acquisition of Silver State. (Id. at 1–2).

           Statement              Objection               Ruling                Rationale
 “Delay would have been       Expert Opinion          Overruled.      As to whether this
 catastrophic to Silver State                                         statement qualifies as an
 South. . . . Additionally,                                           expert opinion, this
 while there were                                                     statement was made by an
 environmental issues that                                            employee based on
 were resolved before                                                 perceptions during their
 closing, the inherent                                                course of business. Since
 environmental risk                                                   employee had personal
 associated with Silver State                                         knowledge of this industry,
 South remained present                                               their statement is helpful to
 through Commercial                                                   clear understanding of facts
 Operation Date (COD).”                                               and issues presented in
 (Id. at 3).                                                          case and does not involve
                                                                      specialized scientific or
                                                                      technical knowledge.

 “Removing this                 Expert Opinion        Overruled.      As to whether this
 transparency into                                                    statement qualifies as an
 mitigation measures                                                  expert opinion, this
 created ill-will among the                                           statement was made by an
 environmental groups. It                                             employee based on
 also increased the risk that                                         perceptions during their
 a public dispute would                                               course of business. Since
 arise requiring Silver State                                         employee had personal
 South to defend                                                      knowledge of this industry,
 potentially—and                                                      their statement is helpful to
 inevitably—costly legal                                              clear understanding of facts
 action.” (Id. at 5).                                                 and issues presented in
                                                                      case and does not involve

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                                                                  specialized scientific or
                                                                  technical knowledge.

“In my view, a batched BO Expert Opinion             Overruled.   As to whether this
is not ideal because it                                           statement qualifies as an
increases the likelihood                                          expert opinion, this
that a final BO will be re-                                       statement was made by an
opened due to some type of                                        employee based on
triggering event (e.g.,                                           perceptions during their
wildlife injured, artifacts                                       course of business. Since
uncovered).” (Id. at 7).                                          employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge.

“But Silver State South        Expert Opinion        Overruled.   As to whether this
was not like other projects.                                      statement qualifies as an
The “take” during the                                             expert opinion, this
construction period was                                           statement was made by an
four adult tortoises; and                                         employee based on
only three adults during the                                      perceptions during their
operating period.” (Id. at                                        course of business. Since
8).                                                               employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge.

“The situation was ripe for    Expert Opinion;       Sustained.   As to whether this qualifies
a Preliminary Injunction       Legal Conclusion                   as a legal conclusion, the
filing.” (Id. at 9).                                              Court finds that this
                                                                  statement purports to
                                                                  explain, analyze, or decide
                                                                  legal concepts which must
                                                                  be determined by the Court
                                                                  after consideration of all
                                                                  facts and evidence.
                                                                  Ripeness and principles
                                                                  surrounding a Preliminary

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                                                                 Injunction are left to the
                                                                 interpretation of the Court.

“The environmental issues      Expert Opinion;      Overruled.   As to whether this
with the Ivanpah project—      Legal Conclusion                  statement qualifies as an
a physically huge project                                        expert opinion, this
that had tortoise and avian                                      statement was made by an
impacts—had left a bad                                           employee based on
impression. It was highly                                        perceptions during their
unlikely litigation would                                        course of business. Since
not be sought by                                                 employee had personal
environmental                                                    knowledge of this industry,
organizations.” (Id. at 11).                                     their statement is helpful to
                                                                 clear understanding of facts
                                                                 and issues presented in
                                                                 case and does not involve
                                                                 specialized scientific or
                                                                 technical knowledge. As to
                                                                 whether this qualifies as a
                                                                 legal conclusion, the Court
                                                                 finds that this statement is
                                                                 based on the declarant’s
                                                                 opinion developed through
                                                                 the regular course of
                                                                 business and does not
                                                                 purport to explain, analyze,
                                                                 or decide legal concepts.

“There were many              Expert Opinion        Overruled.   As to whether this
significant risks with Silver                                    statement qualifies as an
State South- among others,                                       expert opinion, this
outstanding litigation,                                          statement was made by an
ongoing cultural risks, and                                      employee based on
of course, the substantial                                       perceptions during their
environmental issues.                                            course of business. Since
Some, but not all, of the                                        employee had personal
development risks                                                knowledge of this industry,
associated with Silver State                                     their statement is helpful to
South were resolved before                                       clear understanding of facts
NextEra closed on the                                            and issues presented in
acquisition. Some risks                                          case and does not involve
were specifically allocated                                      specialized scientific or
to First Solar under the                                         technical knowledge.
separate Engineering,
Procurement, and
Construction agreement

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 between the parties.
 However, NextEra
 inherited many of these
 risks- the ongoing litigation
 and inherent risks
 associated with owning a
 solar facility in the
 development and
 construction phase.” (Id. at
 15).

   12. Robert Stephens

        Robert Stephens has been a tax specialist in NextEra’s tax department since 1999 and is
currently Senior Tax Counsel. (Pl.’s Resp. Summ. J., Ex. F at 1). Stephens’ responsibilities
include tax research, transaction work, tax work related to development activities and project
acquisitions, tax compliance, and the Section 1603 grant. (Id.).

          Statement                  Objection              Ruling               Rationale
 “The IRS’s conclusion in        Legal Conclusion;      Overruled.      As to whether this qualifies
 Private Letter Ruling . . .     Expert Opinion                         as a legal conclusion, the
 was consistent with                                                    Court finds that this
 NextEra’s longstanding                                                 statement is based on the
 position regarding unit-                                               declarant’s opinion
 contingent PPAs . . ..                                                 developed through the
 [analysis of Treasury                                                  regular course of business
 paper].” (Id. at 4).                                                   and does not purport to
                                                                        explain, analyze, or decide
                                                                        legal concepts. As to
                                                                        whether this statement
                                                                        qualifies as an expert
                                                                        opinion, this statement was
                                                                        made by an employee
                                                                        based on perceptions
                                                                        during their course of
                                                                        business. Since employee
                                                                        had personal knowledge of
                                                                        this industry, their
                                                                        statement is helpful to clear
                                                                        understanding of facts and
                                                                        issues presented in case
                                                                        and does not involve
                                                                        specialized scientific or
                                                                        technical knowledge.

 “Treasury’s position was        Expert Opinion;        Overruled in    As to whether this

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never clearly defined, and     Legal Conclusion   part and       statement qualifies as an
there was no legal support                        sustained in   expert opinion, this
provided.” (Id.).                                 part.          statement was made by an
                                                                 employee based on
                                                                 perceptions during their
                                                                 course of business. Since
                                                                 employee had personal
                                                                 knowledge of this industry,
                                                                 their statement is helpful to
                                                                 clear understanding of facts
                                                                 and issues presented in
                                                                 case and does not involve
                                                                 specialized scientific or
                                                                 technical knowledge. As to
                                                                 whether this qualifies as a
                                                                 legal conclusion, the Court
                                                                 finds that the first portion
                                                                 of this statement is based
                                                                 on the declarant’s opinion
                                                                 developed through the
                                                                 regular course of business
                                                                 and does not purport to
                                                                 explain, analyze, or decide
                                                                 legal concepts. However,
                                                                 the Court finds that the
                                                                 second portion (“. . . and
                                                                 there was no legal support
                                                                 provided.”) purports to
                                                                 explain, analyze, or decide
                                                                 legal concepts which must
                                                                 be determined by the Court
                                                                 after consideration of all
                                                                 facts and evidence.

“Treasury’s position           Expert Opinion;    Sustained in   As to whether the first
created confusion and          Legal Conclusion   part and       sentence of this statement
uncertainty among market                          overruled in   (“Treasury’s position
participants and was                              part.          created confusion and
inconsistent with the                                            uncertainty among market
applicable tax rules. At the                                     participants and was
end of the process,                                              inconsistent with the
Treasury issued generic                                          applicable tax rules.”)
award letters that did not                                       qualifies as an expert
provide any meaningful                                           opinion, this statement
explanation for reducing                                         involves specialized
grants. There was no                                             scientific or technical

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administrative appeal                                      knowledge which must be
process like there is within                               testified to by an expert
the IRS. Applicants were                                   witness. As to whether the
faced with the decision of                                 remainder of this statement
either accepting Treasury's                                qualifies as an expert
reduction or litigating the                                opinion, this statement was
reduction. NextEra and                                     made by an employee
other applicants had to                                    based on perceptions
navigate through this                                      during their course of
process in a number of                                     business. Since employee
cases.” (Id. at 5).                                        had personal knowledge of
                                                           this industry, their
                                                           statement is helpful to clear
                                                           understanding of facts and
                                                           issues presented in case
                                                           and does not involve
                                                           specialized scientific or
                                                           technical knowledge. As to
                                                           whether this qualifies as a
                                                           legal conclusion, the Court
                                                           finds that this statement is
                                                           based on the declarant’s
                                                           opinion developed through
                                                           the regular course of
                                                           business and does not
                                                           purport to explain, analyze,
                                                           or decide legal concepts.

“NextEra’s unit-contingent Legal Conclusion   Sustained.   As to whether this qualifies
PPA position was                                           as a legal conclusion, the
confirmed by the United                                    Court finds that this
States Court of Federal                                    statement purports to
Claims in Alta Wind I                                      explain, analyze, or decide
Owner-Lessor C et al. v.                                   legal concepts which must
United States, 12.8 Fed. Cl.                               be determined by the Court
702 (Fed. Cl. 2016). In                                    after consideration of all
Alta Wind, the Court of                                    facts and evidence.
Federal Claims concluded                                   Interpretation and
that PPAs should be treated                                application of case law are
like land leases, which are                                legal concepts within the
not treated as separate                                    discretion of the Court.
assets from the land, and
that "the close nexus
between the wind farm
facilities and their
respective PPAs means that

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the PPAs cannot be viewed
as separate intangible
assets." 128 Fed. Cl. at
721. The Court of Federal
Claims’ decision was
consistent with the
reasoning of Private Letter
Ruling 201214007 and
NextEra's position on unit-
contingent PPAs. The
Court of Appeals for the
Federal Circuit vacated the
Court of Federal Claims'
decision, in July 2018, but
did not address the unit-
contingent PPA issue.” (Id.
at 5–6).

“Moreover, the facts of       Expert Opinion;          Sustained.   As to whether this qualifies
Silver State South, in my     Legal Conclusion                      as a legal conclusion, the
view, compared favorably                                            Court finds that this
to the facts of Alta Wind                                           statement purports to
because NextEra purchased                                           explain, analyze, or decide
Silver State South as a                                             legal concepts which must
“greenfield project”—                                               be determined by the Court
before any construction                                             after consideration of all
had started and years                                               facts and evidence.
before it became                                                    Interpretation and
operational. Treasury,                                              application of case law are
however, declined to                                                legal concepts within the
follow the Court of Federal                                         discretion of the Court.
Claims’ decision . . ..” (Id.
at 6).

“Based on my experience          Expert Opinion        Sustained.   As to whether this
with the Silver State South                                         statement qualifies as an
transactions, and my                                                expert opinion, this
perspective as a tax                                                statement ascribes value to
specialist, I do not agree                                          the transaction as a whole
that there was any                                                  and therefore involves
combined value or that the                                          specialized scientific or
parties ever intended to                                            technical knowledge which
agree to a simple price . . ..                                      must be testified to by an
I do not agree with                                                 expert witness.
Treasury’s or Defendant’s
characterization . . ..” (Id.

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at 9).

“I further disagree that       Expert Opinion        Overruled.   As to whether this
NextEra paid a premium                                            statement qualifies as an
on account of the PPA or                                          expert opinion, this
that value was transferred                                        statement was made by an
from the MIPSA to the                                             employee based on
EPC . . ..” (Id.).                                                perceptions during their
                                                                  course of business. Since
                                                                  employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge.

“As discussed above,           Legal Opinion         Overruled.   As to whether this qualifies
NextEra had several                                               as a legal conclusion, the
pending applications                                              Court finds that this
before Treasury when the                                          statement is based on the
negotiations with First                                           declarant’s opinion
Solar started in earnest in                                       developed through the
2013. Treasury had started                                        regular course of business
raising issues regarding the                                      and does not purport to
pricing of projects and the                                       explain, analyze, or decide
valuation of PPAs.                                                legal concepts.
Treasury had developed
certain internal
benchmarks about what the
development and
construction costs and
profit markups should be
and applied those
benchmarks to scrutinize
Section 1603 grant
applications. NextEra was
experiencing, in this same
timeframe in 2013,
potential reductions in its
grant awards (but nowhere
even close to the
magnitude that Treasury
would later propose for
projects like Silver State

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South).” (Id. at 9).

“NextEra’s concern was       Expert Opinion;         Overruled.   As to whether this
focused on Treasury’s        Foundation                           statement qualifies as an
conduct . . .. The indemnity                                      expert opinion, this
provision was not intended                                        statement was made by an
as acceptance of Treasury’s                                       employee based on
position.” (Id. at 10).                                           perceptions during their
                                                                  course of business. Since
                                                                  employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge. As to
                                                                  the adequacy of foundation
                                                                  prior to this statement, the
                                                                  Court finds that proper
                                                                  foundation has been laid as
                                                                  to Declarant’s role in the
                                                                  subject transaction or
                                                                  industry allowing this
                                                                  statement to be admissible.

“Trade or business is a        Expert Opinion        Overruled.   As to whether this
well-established concept                                          statement qualifies as an
under the tax law, and it is                                      expert opinion, this
a concept that pervades the                                       statement was made by an
day-to-day practice of tax                                        employee based on
departments like                                                  perceptions during their
NextEra’s. In my                                                  course of business. Since
experience, a development                                         employee had personal
stage, preconstruction                                            knowledge of this industry,
project like Silver State                                         their statement is helpful to
South cannot be a trade or                                        clear understanding of facts
business. NextEra did not                                         and issues presented in
acquire a trade or business                                       case and does not involve
when it acquired the Silver                                       specialized scientific or
State South project in May                                        technical knowledge.
2014. For these reasons,                                          Based on the
we concluded that IRC                                             inapplicability of the
Section 1060 did not                                              specific objection, the
apply.” (Id. at 12).                                              statement is admissible.
                                                                  This ruling does not

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                                                                  preclude objections made
                                                                  during the pendency of
                                                                  trial.

“Indirect costs are            Legal Conclusion      Overruled.   As to whether this qualifies
identified and allocated to                                       as a legal conclusion, the
the tangible property items                                       Court finds that this
in the cost segregation                                           statement is based on the
study on a pro rata basis in                                      declarant’s opinion
accordance with the cost                                          developed through the
capitalization rules under                                        regular course of business
IRC Section 263(a) and                                            and does not purport to
IRC Section 263A.” (Id. at                                        explain, analyze, or decide
14).                                                              legal concepts.

“The Management Reports        Expert Opinion        Overruled.   As to whether this
are required by the                                               statement qualifies as an
independent accountant                                            expert opinion, this
examination procedures                                            statement was made by an
and were executed in                                              employee based on
exactly the form prescribed                                       perceptions during their
by those procedures (see                                          course of business. Since
Exhibit 3, page 3).” (Id. at                                      employee had personal
15).                                                              knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge.

“EY’s team included            Expert Opinion        Overruled.   As to whether this
several of the most                                               statement qualifies as an
reputable and highly-                                             expert opinion, this
experienced technical                                             statement was made by an
experts in renewable                                              employee based on
energy transactions and                                           perceptions during their
cost segregation analysis in                                      course of business. Since
the country . . ..” (Id.).                                        employee had personal
                                                                  knowledge of this industry,
                                                                  their statement is helpful to
                                                                  clear understanding of facts
                                                                  and issues presented in
                                                                  case and does not involve
                                                                  specialized scientific or
                                                                  technical knowledge.

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“Those certifications are     Expert Opinion        Overruled.     As to whether this
provided in accordance                                             statement qualifies as an
with the AICPA attestation                                         expert opinion, this
procedures prescribed by                                           statement was made by an
Treasury.” (Id. at 16).                                            employee based on
                                                                   perceptions during their
                                                                   course of business. Since
                                                                   employee had personal
                                                                   knowledge of this industry,
                                                                   their statement is helpful to
                                                                   clear understanding of facts
                                                                   and issues presented in
                                                                   case and does not involve
                                                                   specialized scientific or
                                                                   technical knowledge.

“Silver State South was a     Expert Opinion;       Overruled in   As to whether this
development stage,            Legal Conclusion      part and       statement qualifies as an
preconstruction project,                            sustained in   expert opinion, this
and not a trade or business                         part.          statement was made by an
to which goodwill or going                                         employee based on
concern value could under                                          perceptions during their
any circumstances attach.”                                         course of business. Since
(Id. at 17).                                                       employee had personal
                                                                   knowledge of this industry,
                                                                   their statement is helpful to
                                                                   clear understanding of facts
                                                                   and issues presented in
                                                                   case and does not involve
                                                                   specialized scientific or
                                                                   technical knowledge. As to
                                                                   whether this qualifies as a
                                                                   legal conclusion, the Court
                                                                   finds that the first sentence
                                                                   is based on the declarant’s
                                                                   opinion developed through
                                                                   the regular course of
                                                                   business and does not
                                                                   purport to explain, analyze,
                                                                   or decide legal concepts.
                                                                   However, the Court finds
                                                                   that the portion containing
                                                                   “. . . not a trade or business
                                                                   to which goodwill or going
                                                                   concern value could under

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                                                                any circumstances attach,”
                                                                purports to explain,
                                                                analyze, or decide legal
                                                                concepts which must be
                                                                determined by the Court
                                                                after consideration of all
                                                                facts and evidence.

“Based on my experience,     Expert Opinion        Overruled.   As to whether this
valuation is required in                                        statement qualifies as an
only two circumstances . .                                      expert opinion, this
..” (Id. at 18).                                                statement was made by an
                                                                employee based on
                                                                perceptions during their
                                                                course of business. Since
                                                                employee had personal
                                                                knowledge of this industry,
                                                                their statement is helpful to
                                                                clear understanding of facts
                                                                and issues presented in
                                                                case and does not involve
                                                                specialized scientific or
                                                                technical knowledge.

“However, after analyzing Expert Opinion;          Overruled.   As to whether this
the circumstances in the      Legal Conclusion                  statement qualifies as an
paper, we determined that                                       expert opinion, this
Silver State South did not                                      statement was made by an
involve any peculiar                                            employee based on
circumstances that would                                        perceptions during their
require a valuation.                                            course of business. Since
Notably, there were no                                          employee had personal
affiliated parties or related                                   knowledge of this industry,
transactions (as described                                      their statement is helpful to
in Treasury's paper) present                                    clear understanding of facts
in the acquisition of Silver                                    and issues presented in
State South.” (Id.).                                            case and does not involve
                                                                specialized scientific or
                                                                technical knowledge. As to
                                                                whether this qualifies as a
                                                                legal conclusion, the Court
                                                                finds that this statement is
                                                                based on the declarant’s
                                                                opinion developed through
                                                                the regular course of
                                                                business and does not

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                                                                       purport to explain, analyze,
                                                                       or decide legal concepts.

 “GAAP treatment of             Expert Opinion;       Sustained.       As to whether this
 transactions and assets is     Legal Conclusion                       statement qualifies as an
 often different from their                                            expert opinion, this
 federal income tax                                                    statement interprets
 treatment. Specifically, tax                                          Generally Accepted
 does not recognize a                                                  Accounting Principles and
 services contract like the                                            involves specialized
 EPC Agreement as a                                                    scientific or technical
 liability.” (Id.).                                                    knowledge which must be
                                                                       testified to by an expert
                                                                       witness.

 “Although SSSPS’s             Expert Opinion;        Sustained.       As to whether this qualifies
 applications satisfied all of Legal Conclusion                        as a legal conclusion, the
 the requirements set forth                                            Court finds that this
 in Section 1603 in order to                                           statement purports to
 qualify for the full cash                                             explain, analyze, or decide
 grant amounts requested, . .                                          legal concepts which must
 ..” (Id. at 20).                                                      be determined by the Court
                                                                       after consideration of all
                                                                       facts and evidence. The
                                                                       application of Section 1603
                                                                       and similar tax rules are
                                                                       reserved for determination
                                                                       by the Court.

   13. Steven Wozniak

       Steven Wozniak is currently Chief Engineer, PV Power Plant Development and
Execution at First Solar and was previously a Senior Director and an Electrical Engineering
Manager. (Pl.’s Resp. Summ. J., Ex. G at 1). Wozniak is responsible for project execution
through the development period until “hand-over” to the customer in all phases of engineering,
procurement, management & construction. (Id.).

          Statement                 Objection             Ruling                Rationale
 “I have not identified any     Expert Opinion        Overruled.       As to whether this
 amounts being invoiced or                                             statement qualifies as an
 any payments being made                                               expert opinion, this
 on account of any power                                               statement was made by an
 purchase agreement. . ..                                              employee based on
 Based on my examination                                               perceptions during their
 of the invoices and                                                   course of business. Since
 associated documentation,                                             employee had personal

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I did not find any amounts                                     knowledge of this industry,
being invoiced or any                                          their statement is helpful to
payments being made on                                         clear understanding of facts
account of this PPA.” (Id.                                     and issues presented in
at 3–4).                                                       case and does not involve
                                                               specialized scientific or
                                                               technical knowledge.

“I did not find any amounts Expert Opinion        Overruled.   As to whether this
under those change orders                                      statement qualifies as an
being invoiced or any                                          expert opinion, this
payments being made on                                         statement was made by an
account of the PPA.” (Id. at                                   employee based on
4).                                                            perceptions during their
                                                               course of business. Since
                                                               employee had personal
                                                               knowledge of this industry,
                                                               their statement is helpful to
                                                               clear understanding of facts
                                                               and issues presented in
                                                               case and does not involve
                                                               specialized scientific or
                                                               technical knowledge.

“I did not find any amounts Expert Opinion        Overruled.   As to whether this
under those materials being                                    statement qualifies as an
invoiced or any payments                                       expert opinion, this
being made on account of                                       statement was made by an
the PPA.” (Id.).                                               employee based on
                                                               perceptions during their
                                                               course of business. Since
                                                               employee had personal
                                                               knowledge of this industry,
                                                               their statement is helpful to
                                                               clear understanding of facts
                                                               and issues presented in
                                                               case and does not involve
                                                               specialized scientific or
                                                               technical knowledge.

“I did not find any amounts Expert Opinion        Overruled.   As to whether this
under those materials being                                    statement qualifies as an
invoiced or any payments                                       expert opinion, this
being made on account of                                       statement was made by an
the PPA.” (Id.).                                               employee based on
                                                               perceptions during their

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                                                                          course of business. Since
                                                                          employee had personal
                                                                          knowledge of this industry,
                                                                          their statement is helpful to
                                                                          clear understanding of facts
                                                                          and issues presented in
                                                                          case and does not involve
                                                                          specialized scientific or
                                                                          technical knowledge.

        Relevant statements of the sustained objections will not be considered for purposes of the
pending motion for summary judgment. Should the declarants be produced at trial, they should
be instructed that those specific statements are inadmissible.

         The Court has filed this ruling under seal. The parties shall confer to determine proposed
redactions to which all the parties agree. By no later than October 19, 2020, the parties shall file
a joint status report indicating their agreement with the proposed redactions, attaching a copy of
those pages of the Court’s ruling containing proposed redactions, with all proposed redactions
clearly indicated. The parties also shall, by the same date, file any redacted versions of
documents they filed under seal in this case to the extent such redacted versions have not already
been filed.
       IT IS SO ORDERED.
                                                             s/   David A. Tapp
                                                             DAVID A. TAPP, Judge




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